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                                 Exhibit 11


    to the Declaration of Deepa Alagesan in Support of Plaintiffs’
    Objections to Defendants’ Proposed Revised Adjudication Plan




Afghan and Iraqi Allies Under Serious Threat Because of Their Faithful Service to
         the United States v. Blinken, et al., Case No. 18-cv-01388-TSC
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        UNITED STATES DISTRICT COURT
        FOR THE DISTRICT OF COLUMBIA
        - - - - - - - - - - - - - -
        AFGHAN AND IRAQI ALLIES
        UNDER SERIOUS THREAT
        BECAUSE OF THEIR FAITHFUL
        SERVICE TO THE UNITED
        STATES, ON THEIR OWN AND
        ON BEHALF OF OTHERS              Case Number:
        SIMILARLY SITUATED,              1:18-cv-01388
                   Plaintiffs,
        vs.
        ANTONY BLINKEN, et al,
                   Defendants.
        - - - - - - - - - - - - - -
                   REMOTE DEPOSITION
                           of
                   CATHERINE McGEARY
                        VOLUME II
                 Monday, February 27, 2023




        Reported by: Robin LaFemina, RPR, CLR
        Job No. SY 6667


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                                                                Page 280
   1                            McGeary
   2          Q.       And that includes both paper
   3    copies of documents and any electronic
   4    documents.
   5                   Can you agree to that?
   6          A.       Yes.
   7          Q.       Do you have a cell phone or
   8    other electronic devices with communications
   9    capabilities with you in the room?
  10          A.       I don't personally, but there
  11    are in the room.
  12          Q.       I just ask that you don't use
  13    any devices during the deposition to
  14    communicate unless I ask you to do so or you
  15    or your counsel let me know that you're
  16    doing so.
  17                   Can you agree to that?
  18          A.       Okay.
  19                   MS. HIROSE:     I'm just going to
  20          pause and make sure -- can the court
  21          reporter -- Court Reporter, can you
  22          hear everything okay?
  23                   THE COURT REPORTER:       I was going
  24          to say that she's not very clear, I'm
  25          sure you're hearing it the same way.


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   1                            McGeary
   2          Can we go off the record for a second?
   3                    MS. HIROSE:     Yes.   Let's go off
   4          the record.
   5                    (Whereupon, a brief recess was
   6          taken.)
   7    CONTINUED BY MS. HIROSE:
   8          Q.        Okay.
   9                    To make sure we understand each
  10    other, I'm going to make sure we're in
  11    agreement on a few terms.
  12                    I will refer to the Department
  13    of State as State or DOS.
  14                    Is that okay?
  15          A.        Okay.
  16          Q.        I will refer to the National
  17    Visa Center as NVC.
  18                    Is that okay?
  19          A.        Yup.
  20          Q.        I will refer to the Chief of
  21    Mission as COM; is that okay?
  22          A.        Yes.
  23                    MS. HIROSE:     And for the court
  24          reporter, that's C-O-M, COM.
  25          Q.        I will refer to immigrant visas


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                                                                Page 282
   1                            McGeary
   2    as IV.
   3                   Is that okay?
   4            A.     Okay.
   5            Q.     Sorry.    Could you give a verbal
   6    answer?
   7            A.     I said okay.
   8                   MS. DAVILA:     She means yes or
   9            no.
  10                   THE WITNESS:       Oh.
  11            Q.     Oh, okay.     Sorry.     I couldn't
  12    hear.
  13                   I will refer to the Special
  14    Immigration Visa for Afghans and Iraqi
  15    Nationals who are employed by or on behalf
  16    of the U.S. Government as SIV.
  17                   Is that okay?
  18            A.     Yes.
  19            Q.     I understand that the State
  20    Department has a contract with a company
  21    that supports SIV processing at the NVC; is
  22    that right?
  23            A.     Yes.
  24            Q.     That company is called LDRM?
  25            A.     It is.


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                                                                Page 283
   1                            McGeary
   2            Q.     I'll refer to the company that
   3    has the SIV processing contract for NVC as
   4    LDRM.
   5                   Okay?
   6            A.     Okay.
   7            Q.     And I'll refer to the people who
   8    work for LDRM as contractors.
   9                   Is that okay?
  10            A.     Okay.
  11            Q.     I will refer to the United
  12    States Citizenship & Immigration Services as
  13    USCIS.
  14                   Is that okay?
  15            A.     Yes.
  16            Q.     I will refer to the Department
  17    of Homeland Security as DHS.
  18                   Is that okay?
  19            A.     Yes.
  20            Q.     Great.
  21                   Do you understand that you're
  22    being deposed as a representative of the
  23    State Department today?
  24            A.     Yes.
  25            Q.     And that's different from the


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                                                                Page 284
   1                            McGeary
   2    deposition a couple of weeks ago when you
   3    were testifying in your personal capacity?
   4          A.       Yes.
   5          Q.       What did you do to prepare for
   6    today's deposition?
   7          A.       I talked with a few of my staff
   8    here at NVC, some of my colleagues at the
   9    State Department and legal counsel and
  10    reviewed related documents.
  11          Q.       Which staff at NVC did you speak
  12    with to prepare for the deposition?
  13          A.       I spoke with my assistant
  14    director, the consular officer who oversees
  15    our Afghan visa and immigrant scheduling
  16    programs, immigrant visa scheduling and
  17    post-liaison programs.
  18          Q.       Ms. McGeary, did you also
  19    mention that you spoke to a contractor in
  20    preparing for the deposition?
  21          A.       Yes.    It's our contractor who
  22    works for the company that -- it's a
  23    different contractor, not LDRM, it's a
  24    contractor that kind of monitors the
  25    quality, helps the government monitor the


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                                                                Page 308
   1                            McGeary
   2    that the COM committee said was missing or
   3    otherwise rendered their case unapprovable.
   4          Q.       Is that also written down in the
   5    SOP for processing of the COM application
   6    e-mails that you just mentioned?
   7          A.       I do not have the SOP in front
   8    of me.
   9          Q.       Would you expect that the
  10    criteria for documentarily -- sorry.
  11    Withdrawn.     Start again.
  12                   Would you expect that the
  13    criteria for being documentarily complete
  14    for appeals would be in the SOP that
  15    pertains to the processing of the COM
  16    application e-mails?
  17                   MS. DAVILA:     Objection,
  18          ambiguous.     Objection, compound.
  19          A.       I would expect it to be in the
  20    SOP or related training materials.
  21                   MS. HIROSE:     I'd like to mark
  22          for the record a request for the
  23          production of the SOP, the COM
  24          application e-mails that Ms. McGeary
  25          just mentioned and related training


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                                                                Page 309
    1                           McGeary
    2          materials to the extent that the
    3          criteria for being documentarily
    4          complete for appeals appears in the
    5          training materials.
    6                   MS. DAVILA:     Counsel, will you
    7          be sharing that document or --
    8                   MS. HIROSE:     We can follow up
    9          after the deposition with our requests.
  10                    MS. DAVILA:     Okay.    The
  11           Government would object to that request
  12           and note the scope that the Court
  13           ordered regarding this 30(b)(6)
  14           Deposition.
  15           Q.       Ms. McGeary, we were just
  16     talking about the difference in the text
  17     between the description of Step 2 between
  18     the Proposed Plan and the Previous Plan;
  19     right?
  20           A.       That's correct.
  21           Q.       Is it fair to say that the
  22     change in text does not reflect a change in
  23     internal processing?
  24           A.       There has been no -- well, I
  25     would say -- I think I need to step back


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                                                                Page 310
    1                            McGeary
    2    because the original -- the -- what did we
    3    call it -- the original plan?
    4          Q.       The Previous Plan.
    5          A.       Right.    The Previous Plan.
    6    Thank you.     The Previous Plan was submitted
    7    in 2020 and there has been a good deal that
    8    has changed between 2020 and the submission
    9    of this Proposed Plan, which was submitted
  10     in February of 2023, including our -- the
  11     very system we use for -- that NVC uses for
  12     the COM application e-mail process, so I
  13     can't state that there's been no change in
  14     process, but that's -- if that's what you
  15     asked me.
  16           Q.       But the change in language to
  17     the description of Step 2 in the Proposed
  18     Plan was made to align with NVC's use of
  19     what it does at this stage?
  20                    MS. DAVILA:     Objection,
  21           ambiguous.
  22           A.       It's not our view on what we do.
  23     It rather reflects on what the processor is
  24     doing at that stage of the process.
  25           Q.       Looking at the Plan Performance


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                                                                 Page 311
    1                           McGeary
    2    Standard column at Step 2, do you see the
    3    Proposed Plan uses 15 business days as the
    4    benchmark?
    5          A.       Yes.
    6          Q.       And do you see that the Previous
    7    Plan used 15 days as the Performance
    8    Standard?
    9          A.       Yes.
  10           Q.       Why was that change made in the
  11     Proposed Plan?
  12           A.       The change was made, again, to
  13     align with the actual practice, which is
  14     that the contractor's Performance Standard
  15     is evaluated in terms of business days.            At
  16     this point in time, the contractor is
  17     meeting or exceeding that Performance
  18     Standard.
  19           Q.       How was the State Department
  20     previously reporting compliance with the
  21     step under the Previous Plan?
  22           A.       How was the Department reporting
  23     compliance?
  24           Q.       Yes.
  25           A.       I will need to review the


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                                                                Page 312
    1                             McGeary
    2    related report.        I am aware that there was a
    3    series of -- what is it called -- meet and
    4    confer about this, the topic of business
    5    versus calendar days, and, therefore, this
    6    is -- we don't see this as really a change
    7    to the Plan, but just a change in the
    8    description.
    9            Q.     Are you saying that the State
  10     Department was always reporting compliance
  11     based on business days under the Previous
  12     Plan?
  13             A.     Again, I don't have the report
  14     in front of me.        What I'm saying is that the
  15     contractor -- the contractor's Performance
  16     Standard always has been business days, and
  17     also that I am aware that there -- this
  18     topic of business versus calendar days was
  19     subject to some meet and confer meetings
  20     under the Plan.
  21             Q.     Okay.     We'd like to share a
  22     document which we will screen share and
  23     we'll also send to you by e-mail, to counsel
  24     and to the court reporter.
  25                    MS. HIROSE:     And for counsel and


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                                                                Page 313
    1                           McGeary
    2          the court reporter, this is ECF 138,
    3          which should be in the most recent
    4          e-mail from Ms. Holland attaching
    5          potential exhibits.
    6                   MS. DAVILA:     Can we go off the
    7          record for a second?
    8                   MS. HIROSE:     Sure.
    9          Q.       We are screen sharing with you a
  10     document -- if you scroll all the way up.
  11     Thank you.
  12                    So at the top of the document,
  13     it says Document 138, page 1 Of 2.
  14                    Do you see the document,
  15     Ms. McGeary?
  16           A.       I do.
  17                    MS. HIROSE:     Could we mark this
  18           as Exhibit 30 for the record, please.
  19                    (Exhibit 30, Defendants' Notice
  20           of Lodging Progress Report, Document
  21           138, marked for identification, as of
  22           this date.)
  23                    MS. HIROSE:     Sorry.    Could we go
  24           off the record for a second?
  25                    (Whereupon, a discussion was


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                                                                Page 316
    1                           McGeary
    2          Q.       So under II.A.      Standards Met,
    3    it says:    For the period of this Progress
    4    Report, Defendants met the performance
    5    standards in the Joint Adjudication Plan for
    6    government-controlled Steps 2, 3, 5, 7, 8,
    7    10, and 12.
    8                   Do you see that?
    9          A.       I do.
  10           Q.       How did NVC determine that it
  11     met the Performance Standard for
  12     government-controlled Step 2 for the
  13     purposes of that report?
  14                    MS. DAVILA:     Objection.     The
  15           Government is going to lodge a standing
  16           objection to the extent that
  17           Plaintiffs' questions about the old
  18           Plan and old report filed before
  19           November of 2022 are beyond the scope
  20           permitted for this deposition.          The
  21           Government and Plaintiffs were clearly
  22           admonished by the magistrate that any
  23           discovery or inquiries into the old
  24           Plan were not permitted in this
  25           30(b)(6) and that any questions should


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                                                                Page 317
    1                           McGeary
    2          be focused on justification for the new
    3          Plan.    I note that for the record in
    4          the event that we need to reach out to
    5          the magistrate concerning scope.
    6          Q.       You can answer the question,
    7    Ms. McGeary.
    8                   MS. DAVILA:     We are directing
    9          the witness not to respond in order to
  10           effectuate an order of the Court
  11           regarding the scope of discovery.
  12           Would counsel like to go off the record
  13           to have a colloquy?
  14                    MS. HIROSE:     Yes, please.
  15                    MS. DAVILA:     Okay.    I will ask
  16           the witness to leave the room.
  17                    (Whereupon, a discussion was
  18           held off the record.)
  19                    MS. DAVILA:     Counsel, if you
  20           would like to restate your question,
  21           I'll instruct the witness to answer.
  22     CONTINUED BY MS. HIROSE:
  23           Q.       Ms. McGeary, we were looking at
  24     what's been marked Exhibit 30, page 6 of 12.
  25           A.       Okay.


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                                                                 Page 318
    1                              McGeary
    2            Q.        How did NVC determine that it
    3    met the Performance Standard for
    4    government-controlled Step 2 for the
    5    purposes of this report?
    6            A.        All right.     Well, I need to have
    7    in front of me government-controlled Step 2,
    8    what it says.         Where is that?    Is this the
    9    old Plan?
  10             Q.        The Previous Plan is Exhibit 1
  11     and Step 2 is at page 3 of 14 of Exhibit 1.
  12             A.        Okay.
  13                       MS. DAVILA:     Let the record
  14             reflect that the witness is looking at
  15             ECF Number 113-1, page 2.
  16             A.        And this progress report is
  17     dated -- it covers the period until June 30,
  18     2021.        Right?   Okay.    So how would NVC have
  19     assessed its performance under the progress
  20     report?        It would have assessed it by
  21     looking at the amount of time that the
  22     contractor would have taken to review the
  23     submitted documents for the COM application
  24     that was submitted by e-mail I believe
  25     under -- yes -- under the old e-mail system,


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                                                                Page 319
    1                             McGeary
    2    and they would have, it says here -- again,
    3    so it says complete within 15 days, but I
    4    already discussed the fact that I'm aware
    5    there's a subsequent discussion about
    6    business days versus calendar days, so,
    7    again, the contractor is assessed based on
    8    business days.
    9            Q.        So when NVC was reporting
  10     compliance in Exhibit 30, was it reporting
  11     compliance based on business days?
  12             A.        I mean, I would need to review
  13     the discussions in the meet and confer
  14     records maybe where that was discussed,
  15     whether or not the subject of business and
  16     calendar days and how we were assessing it
  17     at that point in time came up.          I would
  18     just definitely say that the contractor
  19     has 10 business days to do this step,
  20     10 business days approximates 15 calendar
  21     days.        I don't have the math in front of me.
  22             Q.        Did the State Department ever
  23     report compliance at Step 2 based on
  24     calendar days?
  25                       MS. DAVILA:   Objection,


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                                                                Page 320
    1                              McGeary
    2            repetitive.
    3            A.      I can't state whether or not the
    4    State Department ever reported based on
    5    calendar days or business days, but as I
    6    mentioned, the business days and calendar
    7    days more or less align, and I am aware that
    8    this was a subject of discussion as well.
    9                    MS. HIROSE:     I'd like to mark
  10             for the record this question for
  11             supplemental testimony.
  12                     THE WITNESS:        For what?
  13                     MS. DAVILA:     We couldn't hear
  14             that.   What was that last line?
  15                     MS. HIROSE:     I'd like to mark
  16             for the record this question for
  17             supplemental testimony.
  18                     MS. DAVILA:     The Government
  19             objects to that request.
  20             Q.      Is it the State Department's
  21     position that it would be easier to report
  22     compliance in business days than calendar
  23     days?
  24             A.      It's --
  25                     MS. DAVILA:     Objection.


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                                                                Page 321
    1                           McGeary
    2          Misstates testimony.
    3          A.       Right, it's not a matter of
    4    whether it would be easier or not, it just
    5    aligns with the actual practice in the
    6    contract where the contractor's performance
    7    is measured by business days, and, again, as
    8    I mentioned, the contractor is meeting or
    9    exceeding the Performance Standard as
  10     proposed.
  11           Q.       So the only reason that the
  12     State Department changed the performance
  13     standard at Step 2 of the Proposed Plan is
  14     to align with the contract that the
  15     Department has with LDRM?
  16                    MS. DAVILA:     Objection.
  17           Misstates testimony.
  18           A.       It's not the only reason.        I'm
  19     aware that they're -- in the context of
  20     reporting, the issue of business and
  21     calendar days came up, so in the interest of
  22     reducing the scope for confusion, we
  23     proposed aligning, and with what is in the
  24     contract, which is business days, so we
  25     would be talking the same language.


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                                                                 Page 329
    1                           McGeary
    2    yes or no because it is -- you're reducing
    3    it to one of the points that I articulated.
    4          Q.       Yes, I'm asking about that one --
    5          A.       (Indiscernible due to
    6    over-speaking.)
    7                   MS. DAVILA:     Objection.     Counsel
    8          has interrupted the witness.          Witness,
    9          will you please complete your answer?
  10           A.       As I mentioned, it's one of the
  11     points, but not exclusively.
  12           Q.       Yes.   That's great.
  13                    MS. DAVILA:     Have you completed
  14           your answer?
  15           Q.       Now I am just asking about that
  16     point.
  17                    MS. DAVILA:     Counsel, I was
  18           asking the witness if she had completed
  19           her answer.
  20                    Have you completed your answer?
  21                    THE WITNESS:      Yes.
  22                    MS. DAVILA:     Counsel, your
  23           question.
  24           Q.       So focusing on another point
  25     that you mentioned, you said that you wanted


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                                                                Page 330
    1                           McGeary
    2    to make sure that the standard is clear for
    3    all parties; is that right?
    4                   MS. DAVILA:     Objection,
    5          ambiguous.
    6          A.       Again, we want to make sure that
    7    there's accuracy in reporting and that the
    8    reporting doesn't become again a subject of
    9    confusion, again, are we talking calendar or
  10     business days.
  11                    MS. HIROSE:     Could the court
  12           reporter please read back my question?
  13                    (Whereupon, the requested
  14           portion of the record was read back
  15           by the reporter.)
  16           Q.       And, Ms. McGeary, could you
  17     please answer the question that I asked?
  18                    MS. DAVILA:     Objection,
  19           ambiguous.
  20           A.       Yes, we want to make sure it's
  21     clear for all parties, but that's not the
  22     only reason.
  23           Q.       So just focusing on making sure
  24     that the standard is clear for all parties,
  25     would that be achieved by making clear that


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                                                                Page 331
    1                           McGeary
    2    the standard is in calendar days?
    3                   MS. DAVILA:     Objection,
    4          ambiguous.     Objection, calls for
    5          speculation.
    6          A.       Again, it would be, which could
    7    have a negative downstream effect in the
    8    accuracy of reporting writ large.
    9          Q.       So for purposes of NVC, it would
  10     be clearer to use business days?
  11           A.       It would be more straightforward
  12     to use business days because it would not
  13     involve any scope for confusion with the
  14     contractor as to what we're asking them to
  15     report and it would assist in consistency.
  16           Q.       And that's because the contract
  17     with LDRM uses business days?
  18           A.       Yes, the contract with LDRM uses
  19     business days.
  20           Q.       To be clear, the problem you're
  21     describing with reporting in calendar days
  22     is the same problem that existed at the time
  23     that the Previous Plan went into effect?
  24                    MS. DAVILA:     Objection,
  25           ambiguous.     Objection, misstates


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                                                                Page 332
    1                           McGeary
    2          testimony.     Objection, calls for
    3          speculation.
    4          A.       I am aware that there was
    5    confusion sometimes in the reporting as to
    6    whether the reporting was based on calendar
    7    days or business days, so yes, that was a
    8    challenge.     The report in calendar days
    9    created a layer of the consistency,
  10     potential consistency.
  11           Q.       Were there any internal changes
  12     made within NVC since the Previous Plan that
  13     would make it more difficult to report in
  14     calendar days?
  15                    MS. DAVILA:     Objection.
  16           Ambiguous.
  17           A.       Again, there are multiple
  18     changes made between the Previous Plan and
  19     the Proposed Plan.       There's no change made
  20     as to the, you know, Performance Standard
  21     for the contractor, which is business days.
  22           Q.       If we can move on to a document
  23     marked Exhibit 24.
  24                    THE WITNESS:      Do you know which
  25           one that is?


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                                                                Page 333
    1                            McGeary
    2          Q.       I'm sorry.       It's not 24.
    3    It's -- oh, yes.       Sorry.     Exhibit 24.
    4    You've already looked at it before.
    5          A.       Okay.    What's the other name of
    6    it?   Sorry.
    7          Q.       It is the Proposed Plan.         It
    8    says Document 207-1 at the header on the
    9    first page.
  10           A.       Okay.    I have it.
  11           Q.       Okay.
  12                    So could you look at page 6 of
  13     17, Step 3 under the Afghan Allies
  14     Protection Act of 2009.
  15                    And in the Description, it says
  16     NVC marks completed application or appeal as
  17     document complete and COM staff processed
  18     the application or appeal for review.
  19                    Do you see that?
  20           A.       Yes.
  21           Q.       Do you understand yourself to be
  22     designated to testify about the part that
  23     follows COM staff process in that Step 3?
  24           A.       I --
  25                    MS. DAVILA:       Objection,


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                                                                Page 334
    1                             McGeary
    2            ambiguous.
    3            A.        If -- you're asking me if I'm
    4    testifying on behalf of the COM process for
    5    ASIV.
    6            Q.        I'm asking if you're prepared to
    7    testify today on behalf of the State
    8    Department about the part of the step
    9    involving COM staff.
  10                       MS. DAVILA:   Objection,
  11             ambiguous.
  12                       Counsel, what's -- perhaps what
  13             step or I don't know if we want to go
  14             off the record, just --
  15                       MS. HIROSE:   Okay.   We can go
  16             off the record.
  17                       (Whereupon, a discussion was
  18             held off the record.)
  19                       (Whereupon, a brief recess was
  20             taken.)
  21     CONTINUED BY MS. HIROSE:
  22             Q.        So, Ms. McGeary, we're looking
  23     at Exhibit 24 at page 6 of 17 and step 3 of
  24     the Afghan Allies Process.
  25                       Are you prepared to testify as


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                                                                Page 347
    1                           McGeary
    2    should be 15 business days at Step 5?
    3          A.       The contractor, according to the
    4    contract, has 10 business days to perform
    5    that step and the 15 business days, as I
    6    mentioned, is to allow for the possibility
    7    of a, you know, an increased influx from --
    8    of COM approval so they can remain on
    9    timeliness.
  10           Q.       Is the NVC seeing increased
  11     volumes of cases at this step right now?
  12           A.       Increases compared to what?
  13           Q.       That's a good question.        I'm
  14     going to withdraw that question on my
  15     behalf.
  16                    How did the State Department
  17     determine that expected increase in cases
  18     would require the Performance Standard to be
  19     changed to 15 business days?
  20           A.       So I'll state again that the
  21     contract requires the contractor to perform
  22     the step within 10 business days and that
  23     level of performance and the importance of
  24     timeliness in the context of processing
  25     Afghan SIV, in this case immigrant visa


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                                                                Page 348
    1                           McGeary
    2    applications, is a subject of very frequent
    3    conversation between the Government and the
    4    contractor, and the contractor has made
    5    multiple interventions, including with the
    6    State Department's systems improvement, also
    7    their own staffing cross-training and
    8    alignment in an effort to remain within
    9    timeliness, and, as I mentioned, it is
  10     within timeliness, meaning 10 business days.
  11     However, knowing again the unprecedented
  12     interest in the Afghan SIV program and thus
  13     the huge influx of COM applications that
  14     came into NVC and were processed, returning
  15     to timeliness on October 7 of this past
  16     year, we can only conclude that they will
  17     be -- there will be an increase in volume
  18     coming out of COM in terms of approvals.
  19     That would then generate work in this step
  20     of the process, which is the IV step.           We
  21     want to make sure that while the contractor
  22     and we have every intent of remaining within
  23     10 business days or less, that we're not
  24     going to then have to make modifications
  25     when we do face that influx.


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                                                                Page 349
    1                           McGeary
    2          Q.       Have you analyzed the volume of
    3    the expected increase in COM approvals that
    4    will be coming to NVC at this step?
    5                   MS. DAVILA:     Objection,
    6          ambiguous.
    7          A.       There would be a degree of
    8    speculation because we know the levels of --
    9    the numbers of cases that were sent for COM
  10     review, but the pace of the review, whether
  11     or not the case meets the requirements for
  12     approval, would all be factors that would
  13     ultimately determine the volumes.           We want
  14     to be prepared for the likely scenario that
  15     there will be an increase in COM approvals
  16     coming for the IV stage of the process here
  17     at NVC.
  18           Q.       Okay.
  19                    But the State Department hasn't
  20     calculated any expected numbers or anything
  21     like that coming into Step 5?
  22           A.       Well, I would note again that my
  23     colleague from the -- from ASIV is going to
  24     testify on behalf of the Department as
  25     relates to the COM part of the process, the


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                                                                Page 350
    1                           McGeary
    2    COM review.     I would say it's only prudent
    3    planning, as they say.
    4          Q.       Could you help me understand why
    5    the State Department chose five -- chose to
    6    add five business days to the contractor's
    7    timeliness standard rather than, say, one
    8    business day or more business days?
    9          A.       Once again, knowing the
  10     unprecedented interest in the program and
  11     the massive volumes that NVC processed from
  12     the closure of our NVC in Kabul and onwards,
  13     that we know that that would at one point
  14     result in either COM approvals or denials
  15     coming back to NVC either through possible
  16     appeals or through the IV application.
  17           Q.       But there's no particular
  18     calculations that resulted in five business
  19     days as the number of business days to add
  20     to that timeliness standard that the
  21     contractor is currently meeting?
  22                    MS. DAVILA:     Objection,
  23           ambiguous.     Objection, misstates
  24           testimony.
  25           A.       Well, each case is an individual


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                                                                Page 351
    1                           McGeary
    2    case, so it would stand to reason that the
    3    COM committee -- there's no way just to give
    4    an exact number of volumes because, again,
    5    it depends on whether or not that specific
    6    applicant met the requirement or did not.
    7    We're allotting sufficient time in our view
    8    to, again, with the full intent of sticking
    9    to the contractually required 10 business
  10     days, but not to have to go back and make
  11     more modifications should the volumes mean
  12     that the contractor will need additional
  13     time to process these cases.
  14           Q.       Sure.   I think -- I just wanted
  15     to make sure there was no calculation
  16     anywhere for the additional time because, if
  17     so, I would ask for that to be produced.
  18           A.       (Indiscernible due to
  19     over-speaking.)
  20                    MS. DAVILA:     Objection.     Asked
  21           and answered.      Objection, counsel is
  22           testifying.
  23           Q.       Am I right that there's no
  24     written calculation anywhere that I should
  25     be asking for?


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                                                                Page 352
    1                           McGeary
    2                   MS. DAVILA:     Objection,
    3          ambiguous.
    4          A.       Once again, we were starting
    5    with the basis in the contract, which is
    6    10 business days, knowing that the
    7    contractor is within timeliness or exceeding
    8    timeliness on the 10 business days, also
    9    knowing the huge influx of cases and
  10     documentarily complete applications that
  11     were sent or marked as such from NVC for COM
  12     approval or COM -- sorry -- COM adjudication
  13     meeting, that certainly we could anticipate
  14     at some point in time seeing additional COM
  15     approvals coming through the IV stage of the
  16     process.    Whether -- I mean, it's not
  17     possible to determine the rates or the
  18     volume.    We were making our prudent planning
  19     judgment here in allotting 15 business days.
  20     There's too many unknowns at the COM stage
  21     of the process to make that case.
  22           Q.       Could you describe what's
  23     involved in Step 5 of the Proposed Plan?
  24           A.       Yes.   So Step 5 is the
  25     preparation of the applicant for the


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                                                                Page 353
    1                             McGeary
    2    immigrant visa interview.           That means
    3    that -- I just have to have Step 4 in front
    4    of me to make sure that I'm not talking
    5    about Step 4 at the same time.
    6                      MS. DAVILA:    Let the record
    7            reflect that the witness is referring
    8            to document ECF Number 207-1.
    9                      THE WITNESS:     Yes.
  10             A.        Yes, so that is -- the Step 5
  11     would be then again handled through e-mail,
  12     which is the IV phase of the process here at
  13     NVC, so the applicant will have been
  14     notified of their COM approval and, again,
  15     told to complete their DS-260 and provide
  16     the necessary immigrant visa document -- the
  17     documentation needed for the immigrant visa
  18     interview, and that could involve an
  19     interface with the applicant.              Some
  20     applicants might provide everything all at
  21     once.        Other applicants might provide one
  22     document one day, wait a couple of weeks,
  23     provide the second document.              It's an
  24     indeterminate amount of time that the
  25     applicant will take to provide all the


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                                                                Page 354
    1                            McGeary
    2    documents.
    3          Q.       That interfacing that you were
    4    just talking about, is that in --
    5          A.       It --
    6          Q.       -- Step 7 of the Proposed Plan?
    7          A.       I'm sorry.     Is the Proposed Plan
    8    the document that's marked 207-1?          Yes.
    9                   So that's Step 6.      So Step 5 is
  10     just basically sending the initial
  11     instructions to the applicant.
  12           Q.       So from the NVC perspective, is
  13     that sending out an e-mail?
  14           A.       Yes.
  15           Q.       Is this a template e-mail that
  16     goes out?
  17           A.       Yes.    There's a -- I mean,
  18     there's a letter that -- it's an e-mail
  19     letter.
  20           Q.       Is it individualized for each
  21     applicant?
  22           A.       It would have the applicant's
  23     name on it.     I don't have it in front of me
  24     to say exactly the content.
  25           Q.       So Step 5 for NVC, NVC will see


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                                                                Page 355
    1                            McGeary
    2    on the system that the case is ready for the
    3    step and then it sends an e-mail with a
    4    letter to the applicant?
    5            A.     Yes.    And then Step 6 gets into
    6    the other part I was talking about.
    7            Q.     How is this Step 5 staffed at
    8    the NVC?
    9            A.     It is staffed by contractors.
  10             Q.     And I believe at your last
  11     deposition, you talked about Document Review
  12     Unit, Case Processing Unit and Scheduling
  13     Unit.
  14                    Do you remember that?
  15             A.     Yes.
  16             Q.     Is this staffed by one of those
  17     units?
  18                    MS. DAVILA:     Objection,
  19             ambiguous.    Objection, compound.
  20                    MS. HIROSE:     Let me rephrase.
  21             Q.     Is Step 5 -- let me rephrase
  22     again.
  23                    Which unit is Step 5 staffed by?
  24             A.     So that should be the Case
  25     Processing Unit.


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                                                                Page 356
    1                           McGeary
    2          Q.       Is the Case Processing Unit
    3    handling Step 5 handling just Afghan SIV
    4    cases?
    5          A.       So the Case Processing Unit does
    6    not only handle Afghan SIV cases.          However,
    7    the contractor was under -- given technical
    8    guidance by the government to prioritize the
    9    processing of Afghan SIV applications.
  10           Q.       What does that mean?
  11           A.       That means the contractor was
  12     given the guidance that the Afghan SIV
  13     program and the timely processing is of
  14     utmost importance, the Government cannot
  15     dictate to the contractor how they respond
  16     to that in terms of staffing.         However, the
  17     contractor did respond by focusing on the
  18     Afghan SIV cases as a priority.          Therefore,
  19     making sure that they are timely.
  20           Q.       When you say focusing on the
  21     Afghan SIV cases as a priority, do you mean
  22     working on SIV cases at Step 5 ahead of
  23     other immigrant visa types?
  24           A.       Again, I can't talk to exactly
  25     the contractor's methodology for complying


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                                                                  Page 357
    1                           McGeary
    2    with the government's technical guidance.            I
    3    could only state that in terms of staffing
    4    focus, the -- how they handle their incoming
    5    queues produced the result of ensuring the
    6    Afghan SIV processing is timely at that
    7    stage of the process.
    8          Q.       Is it fair to say that the State
    9    Department changed the Performance Standard
  10     at Step 5 for Afghan SIVs in the Proposed
  11     Plan to align with its contract with LDRM
  12     and because of the expected increase in
  13     cases?
  14           A.       Yes.   That's fair to say.
  15           Q.       Is there any other reason that
  16     the State Department changed the Performance
  17     Standard at Step 5?
  18           A.       Well, the process is utterly
  19     different, of course, because in the
  20     Previous Plan, it involved a USCIS petition,
  21     and that portion -- that portion of time has
  22     been completely eliminated, you know, from
  23     the experience the applicant has in
  24     proceeding with their COM, you know,
  25     application and visa application, so that's


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                                                                Page 358
    1                            McGeary
    2    changed as well.       We're taking into account
    3    the fact that this is based on the Form
    4    DS-157, again, the contractor being allotted
    5    10 business days and then the expected
    6    increase at one stage from -- of COM
    7    approvals that will come in for processing.
    8          Q.       Okay.
    9                   And the change that you are
  10     talking about in terms of the process being
  11     different, is that accounted for by the
  12     change in the beginning of the Performance
  13     Standard that says upon receipt of the COM
  14     approval and DS-157 petition?
  15           A.       Yes.    That's a different process
  16     from the Previous Plan which involved the
  17     USCIS petition and the waiting part of it to
  18     get the petition.
  19           Q.       Okay.
  20                    But the change in the process in
  21     terms of the DS-157 didn't affect the State
  22     Department's change with respect to 15
  23     business days?
  24                    MS. DAVILA:     Objection,
  25           misstates testimony.


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                                                                Page 359
    1                             McGeary
    2          A.       So, again, it's difficult to
    3    compare because the USCIS portion of the
    4    process and, therefore, the need of the
    5    applicant to interface not only with the
    6    State Department NVC, but also with DHS and
    7    USCIS, and the waiting involved at that
    8    stage has been completely eliminated.
    9    Therefore, this is only reflecting the time
  10     the contractor has, which is 10 business
  11     days to carry out this stage of the process
  12     and allotting additional time for the
  13     anticipated increased volume of COM
  14     approvals.
  15           Q.       Right.     But the change in
  16     process in terms of DS-157 is accounted for
  17     entirely by the revision in the first half
  18     of the sentence, which says upon receipt of
  19     COM approval and DS-157 petition; is that
  20     right?
  21                    MS. DAVILA:     Objection,
  22           repetitive.       Objection, misstates
  23           testimony.
  24           A.       So, again, I think what I'm
  25     trying to make clear is that while this says


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                                                                 Page 368
    1                            McGeary
    2    the contractor is producing, do you mean
    3    producing in this case?
    4          A.       No.    I mean that they are the
    5    ones who make them available for their
    6    contract staff to do the work.
    7                   MS. HIROSE:     I'd like to mark
    8          for the record request for the
    9          production of the SOP related training
  10           materials that reflect NVC's definition
  11           of completeness at Step 7.
  12                    MS. DAVILA:     Objection.     Outside
  13           the scope of this 30(b)(6) Deposition.
  14           It is not the mechanism for an RFPD.
  15                    MS. HIROSE:     I would say that
  16           this is within the scope of the
  17           document requests that have already
  18           been served, so we can meet and confer
  19           with that at a later time.
  20                    MS. DAVILA:     You have our
  21           objection.
  22           Q.       Turning to the Performance
  23     Standard at Step 7 for the Proposed Plan, do
  24     you see that it references Form DS-260?
  25           A.       Yes.


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    1                           McGeary
    2          Q.       And the Previous Plan did not
    3    specify DS-260?
    4          A.       It does not, but it says
    5    application.
    6          Q.       When it said upon receipt of the
    7    application in the Previous Plan, did that
    8    mean including Form DS-260?
    9                   MS. DAVILA:     Objection.
  10           Misstates the phraseology of the
  11           Previous Plan.
  12           A.       So the Revised Plan specifies
  13     that the Form DS-260 is the immigrant visa
  14     application.
  15           Q.       And that was also the case under
  16     the Previous Plan; right?
  17           A.       Well, under the Previous Plan,
  18     it just states upon receipt of the
  19     application.     It did not specify DS-260.
  20     However, that is the immigrant visa
  21     application.
  22           Q.       Do you see that at Step 7 of the
  23     Proposed Plan the Performance Standard in
  24     terms of the number of days at this step has
  25     changed from the Previous Plan?


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                                                                Page 370
    1                           McGeary
    2                   MS. DAVILA:     Objection,
    3            ambiguous.
    4            A.     While it says within 15 business
    5    days, the other Plan said within 5 to 15, so
    6    the end scope is still the same, which is
    7    15, and it didn't specify which type of days
    8    we're talking about, therefore, it's
    9    possible it was the same.
  10             Q.     Why did the State Department add
  11     business days to Step 7 of the Proposed
  12     Plan?
  13             A.     That's a clarification to how
  14     the days are being measured.         The other
  15     previous adjudication plan is non-specific.
  16     It says 15 days.      It doesn't say what type
  17     of days.
  18             Q.     Why is the State Department
  19     clarifying to use business days instead of
  20     calendar days?
  21             A.     So in the interest of clarity as
  22     to the Performance Standard and in the
  23     interest of consistency of reporting, the
  24     Department is specifying 15 business days
  25     rather than leaving it vague and open to


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                                                                Page 371
    1                           McGeary
    2    interpretation.
    3          Q.       And when you say interest of
    4    consistency of reporting, what reporting are
    5    you referencing?
    6          A.       The reporting under the proposed
    7    new plan.
    8          Q.       Why did the State Department
    9    propose using business days instead of
  10     calendar days?
  11           A.       So the Previous Adjudication
  12     Plan does not state calendar days.           It
  13     merely states days.       It's non-specific.
  14           Q.       But the State Department chose
  15     to propose business days here; correct?
  16           A.       Yes.
  17           Q.       And it chose to propose business
  18     days instead of calendar days?
  19           A.       Yes.
  20           Q.       Why was that the case?
  21           A.       Once again, the contract is
  22     written in the terms of business days,
  23     therefore facilitating or eliminating -- I
  24     guess reducing the scope for reporting
  25     errors and consistency in the interest of


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                                                                  Page 372
    1                             McGeary
    2    not having confusion downstream as to what
    3    is being measured and how.
    4          Q.       What is the timeliness standard
    5    under the contract at this step of the
    6    Afghan SIV Process?
    7          A.       It is 10 business days.        And the
    8    contractor is meeting or exceeding that
    9    standard.
  10           Q.       Do you see how under the
  11     Previous Plan there is a second paragraph
  12     that says if the NVC determines that the
  13     application is not complete, the NVC will
  14     notify the applicant within 5 days of that
  15     determination?
  16           A.       Yes.
  17           Q.       And that language does not exist
  18     in the Proposed Plan?
  19           A.       It does not.        I'm just referring
  20     back to check what Step 11 says.           This
  21     document at 113.        Let me get it out.        207.
  22                    MS. DAVILA:        Let the record
  23           reflect that the witness is reviewing
  24           the ECF Number 207-1.
  25           A.       Right.     Okay.     Yes, I see that.


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    1                           McGeary
    2    It's condensed.
    3          Q.       What do you mean it's condensed?
    4          A.       So in Step 7, the process is
    5    that there's just ongoing communication with
    6    the applicant.      Again, some applicants
    7    produce all their documents at once and
    8    right away the, you know, the contractor
    9    within 10 business days, oftentimes less,
  10     can mark that for COM review as
  11     documentarily complete.        Sometimes the
  12     applicant provides one document at a time,
  13     an indeterminate amount of time could
  14     elapse, and there could be an indeterminate
  15     number of interactions between NVC and the
  16     applicant.     Therefore, at each point in
  17     time, for instance, if the applicant is
  18     writing and provides one document and then
  19     they provide another document, once again,
  20     the contractor has 10 business days to
  21     respond to that second e-mail.          It's all by
  22     e-mail.    And once the COM application is
  23     complete, the applicant is notified.
  24           Q.       So in the Proposed Plan at
  25     Step 7, is the intention that 15 business


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                                                                Page 374
    1                             McGeary
    2    days includes the time it takes for NVC to
    3    notify the applicant whether the application
    4    is complete or not?
    5          A.       For instance, the applicant is
    6    sending, you know, might send two documents,
    7    and so there will be a response within 10
    8    business days, you've submitted two of the
    9    five required documents.           Therefore, the
  10     applicant will be notified that they have
  11     not completed -- I mean, they have not
  12     submitted all of the required documents.
  13     So it's condensed in that sense.
  14           Q.       So in your example, the
  15     applicant will receive the notification
  16     within the 10 business days?
  17           A.       Right.     But, again, we're
  18     allotting 15 to account for anticipated
  19     increase in volume.
  20           Q.       Okay.
  21                    And --
  22           A.       Within.     Yeah, it's within, and
  23     sometimes exceeds.
  24           Q.       And so going back to what the
  25     Performance Standard says for the Proposed


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                                                                Page 375
    1                            McGeary
    2    Plan, the NVC -- start again.
    3                   Going back to the Proposed
    4    Performance Standard for Step 7, is it
    5    intended to mean that NVC will determine
    6    whether the case is documentarily complete
    7    and notify the applicant of that
    8    determination within 15 days of business --
    9    15 days of receipt?
  10                    MS. DAVILA:     Objection,
  11           ambiguous.
  12           A.       So the description states NVC
  13     reviews documents for completeness,
  14     corresponding with applicant when additional
  15     documentation is needed.
  16           Q.       I'm on the Performance Standard.
  17           A.       Right.    So I'm just saying it's
  18     captured in the description what that step
  19     is.   The step is described as to encompass
  20     both review and correspondence with the
  21     applicant.     Therefore, the standard applies
  22     to that description.
  23           Q.       Okay.
  24                    But the Performance Standard is
  25     written as if the 15 business days applies


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                                                                 Page 376
    1                           McGeary
    2    only to the determination, but I understand
    3    you to be saying it also includes telling
    4    the applicant of the determination; is that
    5    right?
    6                   MS. DAVILA:     Objection.     Counsel
    7          is testifying.      Objection, ambiguous.
    8          A.       So if the applicant has not
    9    submitted all of the required documentation,
  10     then within -- well, in this case up to 15
  11     business days, under the contract 10
  12     business days, they will be notified that
  13     there's something deficient.         If they could
  14     present -- if that was the only remaining
  15     document, then it's complete, but if there
  16     is something still missing, then there will
  17     be another interaction with the applicant.
  18     Each time the applicant needs to produce
  19     something that was deficient, the contractor
  20     has 10 business days to respond to that,
  21     up to 10 business days, in this case 15
  22     business days to account for increasing
  23     volumes.
  24           Q.       But the 15 business days
  25     includes the time that NVC has to notify the


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                                                                Page 377
    1                             McGeary
    2    applicant of whatever determination it made
    3    under Step 7?
    4          A.       Actually, you know, I want to
    5    also correct something I said because I was
    6    confusing the steps.        We're not talking
    7    about the COM application process.           We're
    8    talking about the visa application process.
    9    So what I said about it's ready for COM
  10     adjudication is not relevant, so my
  11     apologies.     We're talking about the
  12     immigrant visa step; right?         So the
  13     immigrant visa step is -- it's the case that
  14     it's documentarily complete for immigration
  15     visa interview.        And yes, again, the same
  16     applies, that if the applicant is missing
  17     documents for the immigrant visa interview,
  18     not, as I misstated, the COM review in this
  19     step, then the contractor has 10 business
  20     days to tell them that, you know, and say
  21     that you're missing, you know, this, that or
  22     the other document, and we're allotting 15
  23     business days to account for possible
  24     increased volume.
  25           Q.       Okay.


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                                                                Page 378
    1                            McGeary
    2                    So I think I'm understanding
    3    that the Proposed Performance Standard at
    4    Step 7 is 15 business days to respond to the
    5    applicant; is that correct?
    6          A.        Yes.   To respond to the
    7    applicant.      And the response will include,
    8    for instance, congratulations, you've
    9    submitted all the -- I mean, I'm not saying
  10     word for word what it says, but the effect
  11     is congratulations, you meet the
  12     requirements for, you know, the visa --
  13     immigrant visa application or it will say
  14     you're still missing something.
  15                     MS. HIROSE:    Could we go off the
  16           record?
  17                     MS. DAVILA:    Yes.
  18                     (Whereupon, a discussion was
  19           held off the record.)
  20                     (Whereupon, a brief recess was
  21           taken.)
  22     CONTINUED BY MS HIROSE:
  23           Q.        Could I turn your attention to
  24     Exhibit 24, which has the heading Document
  25     207-1, and could you turn to page 7 of 17,


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                                                                Page 379
    1                           McGeary
    2    please.
    3          A.       Okay.
    4          Q.       Do you see at the bottom of page
    5    7 of 17 Steps 7 and 8 of the Proposed Plan
    6    for Afghan SIVs?
    7          A.       Yes.
    8          Q.       Does Step 7 have to be complete
    9    before an applicant can inform NVC of an
  10     alternate immigrant visa processing post in
  11     Step 8?
  12           A.       I would say it's possible for
  13     the applicant to indicate before that where
  14     they want to be interviewed, but that would
  15     be the logical place to indicate it because
  16     it's when their case is actually ready for
  17     interview, so when the case is ready for
  18     interview, that's normally when they would
  19     say where they want to be interviewed.
  20           Q.       If an applicant indicates before
  21     Step 7 that they want to be interviewed at
  22     another post, how is that handled by NVC?
  23           A.       It depends on what you mean by
  24     before, like at what stage.
  25           Q.       I'll leave that for a second.


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                                                                Page 380
    1                            McGeary
    2                   How would the applicant know to
    3    inform NVC of an alternate immigration visa
    4    processing post at Step 8?
    5          A.       So it's both listed on the
    6    public guidance on travel.state.gov and also
    7    provided to them in their letter when they
    8    are told of which documents to prepare for
    9    the immigrant visa interview.
  10           Q.       So that is the letter that goes
  11     out to the applicants at Step 5 of the
  12     process?
  13           A.       Yes.
  14           Q.       And how will the applicant know
  15     what information they need to provide when
  16     informing NVC of an alternate visa
  17     processing post?
  18           A.       I'm not clear --
  19                    MS. DAVILA:     Objection.
  20           A.       -- what you mean.
  21                    MS. DAVILA:     Objection,
  22           ambiguous.      You may answer.
  23                    THE WITNESS:       Yeah, I wasn't
  24           clear on the question.
  25           Q.       At Step 8 where it says


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                                                                Page 386
    1                             McGeary
    2    to be processed versus the applicant
    3    becoming documentarily complete and ready
    4    for interview?
    5          Q.       Yes.
    6                   So how many applicants are
    7    informing NVC of alternate immigrant visa
    8    processing posts?
    9          A.       Aha.     So in that case, if you're
  10     going to ask -- you are asking specifically
  11     how many applicants inform us, not how many
  12     are scheduled at any given post?
  13           Q.       Correct.
  14           A.       Right.     Well, that would be --
  15     that would require review of e-mail
  16     correspondence.       We don't track that data
  17     separately.
  18           Q.       Is there a difference between
  19     how many applicants inform NVC of an
  20     alternate scheduling post and how many are
  21     scheduled -- I think I -- well, actually,
  22     could you answer if you can?
  23                    MS. DAVILA:     Objection,
  24           ambiguous.
  25           A.       So if the case is documentarily


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                                                                Page 387
    1                           McGeary
    2    complete and ready for interview and the
    3    applicant states where they would like to
    4    have the interview take place, that would
    5    launch the scheduling phase of the process,
    6    but I'm not sure -- see -- I'm not sure
    7    exactly what you're asking me to state.
    8          Q.       Do you have a sense -- withdraw.
    9                   Is it accurate to say that only
  10     SIV applicants who can or have gotten out of
  11     Afghanistan can complete Step 8 of the
  12     Proposed Plan?
  13           A.       Applicants who are able to
  14     appear at an IV processing post will be
  15     scheduled for interview according to the
  16     scheduling guidelines.        However, we have no
  17     operating embassy in Kabul, so there's no
  18     appointment that can be scheduled in Kabul.
  19           Q.       So only applicants who are able
  20     to appear at an IV processing post outside
  21     of Kabul can complete Step 8?
  22           A.       Well, the applicant could
  23     complete Step 8 by stating where they intend
  24     to appear even if they're not there at that
  25     point in time.


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                                                                Page 388
    1                            McGeary
    2          Q.       Is it actually --
    3          A.       Actually if they are in
    4    Afghanistan, they can still complete Step 8
    5    by stating where they intend to appear.
    6          Q.       Is the number of SIV applicants
    7    who complete Step 8 a subset of those who
    8    reach Step 7 of the Proposed Plan?
    9          A.       Yes; because a case can be
  10     documentarily complete and for one reason or
  11     another or any type of IV case, the
  12     applicant may not decide to proceed to
  13     interview, or they could decide to proceed
  14     to interview at a time in the future.           So
  15     yes, just becoming documentarily complete
  16     means yes, an interview could be scheduled.
  17           Q.       And if the applicant is --
  18           A.       (Indiscernible due to
  19     over-speaking.)
  20                    MS. DAVILA:     Objection.     The
  21           witness has not completed her answer.
  22           Q.       I'm sorry.     Go ahead.
  23           A.       Right.    So it could be scheduled
  24     for interview, but, again, because we have
  25     no operating embassy in Kabul, they do need


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                                                                Page 389
    1                            McGeary
    2    to indicate where they would intend to be
    3    interviewed.
    4            Q.     So if the applicant is in
    5    Afghanistan and cannot presently get out of
    6    Afghanistan, they are not able to move on to
    7    Steps 8 and 9 and onwards of the complete
    8    Plan?
    9                   MS. DAVILA:     Objection,
  10             compound.    Objection, misstates
  11             testimony.
  12             A.     So as I said, they could move to
  13     Step 8 by stating where they intend in the
  14     future to appear.       Because they're in
  15     Afghanistan doesn't mean that they can't
  16     state where they intend to appear in the
  17     future, but their interview cannot be
  18     scheduled until they have communicated that
  19     because there is no -- we have no
  20     functioning embassy in Kabul or in
  21     Afghanistan writ large.
  22             Q.     So I think you stated that in
  23     order to give me a sense of how many people
  24     are informing NVC of alternate immigration
  25     visa processing posts, you would have to


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                                                                Page 390
    1                             McGeary
    2    track e-mails; is that right?
    3            A.        I believe so.
    4                      MS. DAVILA:     Objection,
    5            misstates testimony.
    6            A.        I believe that we would have to
    7    check e-mails.        If you're asking what you
    8    specifically asked, how many applicants per
    9    month are informing NVC of where they would
  10     like to have an interview scheduled, so they
  11     would do that by e-mail, therefore, we would
  12     have to check e-mails.          We don't record that
  13     separately.
  14             Q.        Do you have a sense of whether
  15     that number is in the tens or hundreds or
  16     thousands?
  17             A.        I really do not.     It would
  18     require review, as I said, of e-mail.             We
  19     can definitely see where cases have been
  20     assigned so we can see how many cases were
  21     assigned to any given post in that period of
  22     time.        But we can't see how many applicants.
  23     You asked specifically how many applicants
  24     had requested.        I don't have that data in
  25     front of me.        We don't have that data.


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                                                                Page 391
    1                           McGeary
    2          Q.       Is it okay if I use the term
    3    third country to refer to not Afghanistan
    4    and not the United States?
    5          A.       Yes.
    6          Q.       Some of the applicants are in
    7    third countries when they start out the
    8    application process; right?
    9          A.       That is my -- yes, there are
  10     those who start the SIV application process
  11     presumably from somewhere other than
  12     Afghanistan or the United States.
  13           Q.       And that was always the case
  14     even before the U.S. Embassy in Kabul
  15     closed?
  16           A.       I don't have that data.        It was
  17     the case that they could.        I believe so.
  18           Q.       Do SIV applicants who are in
  19     third countries when they start the SIV
  20     application process have to take the action
  21     in Step 8?
  22           A.       So you're saying applicant -- an
  23     applicant who is in a third country, do they
  24     need to inform us of where they would like
  25     to be interviewed?       Yes.


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                                                                Page 429
    1                            McGeary
    2    will provide an interview date to the
    3    applicant, it states that one will be
    4    provided, and the time frame --
    5          Q.       Is --
    6                   MS. DAVILA:     Counsel is
    7          interrupting the witness.         Please
    8          finish your answer.
    9          A.       Right.    It does state the time
  10     frame for doing so, for providing the
  11     interview date, and it states that NVC will
  12     provide interview date.
  13           Q.       So what you were talking about
  14     doesn't say when the interview date will be?
  15                    MS. DAVILA:     Objection, asked
  16           and answered.      Repetitive, cumulative.
  17           I'd like to mark the transcript at this
  18           point.
  19           A.       So the plan describes the
  20     scheduling process and the scheduling
  21     process does not enable the Department to
  22     list the specific date in advance of when an
  23     applicant will be scheduled for interview.
  24     It depends on various factors.          It depends
  25     on at which point in time the applicant


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                                                                Page 430
    1                           McGeary
    2    became documentarily complete, it depends on
    3    the availability at the target post, the
    4    adjudicatory capacity of the target post, it
    5    depends on the, you know, which dates are
    6    available, depending on how many also Afghan
    7    SIV applicants are in the queue ahead of
    8    that particular applicant, so there are
    9    various factors to consider and a specific
  10     date cannot be provided.         However, it does
  11     state the commitment that NVC will provide
  12     an interview date to the applicant based on
  13     the scheduling cycle and that in a case
  14     where a -- there's a post that has a demand
  15     exceeding the capacity for interview, as
  16     soon as the post does report that they have
  17     the capacity, then NVC will once again
  18     schedule, tell the applicant within 60
  19     calendar days when they will have their
  20     interview.     That's why the commitment is
  21     phrased in terms of the scheduling cycle to
  22     reflect the actual processing on the ground.
  23                    At this time, it's probably also
  24     relevant to note the Department provides
  25     assistance to the CARE program to applicants


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                                                                Page 431
    1                           McGeary
    2    in an endeavor to make sure they're able to
    3    make it to their interviews.
    4          Q.       Does the NVC's contract with
    5    LDRM contain any timeliness standards
    6    related to Step 9 of the process?
    7          A.       Scheduling -- the contract
    8    doesn't include timeliness standards for
    9    scheduling because, again, it's based on the
  10     scheduling cycle.      So the contractor works
  11     with posts, again using the Power BI tool
  12     that posts have to have access to the cases
  13     that are at NVC that have become
  14     documentarily complete and for which a visa
  15     is available and for them then to use that
  16     to report to NVC by e-mail their scheduling
  17     capacity for the next scheduling cycle.
  18     Based on those two bits of information, NVC
  19     works to schedule cases at a post.           Also
  20     taking into account the guidance that Afghan
  21     SIV applicants have priority scheduling.
  22           Q.       Why did the State Department
  23     change the Performance Standard at Step 9 of
  24     the Afghan SIV Process from what it was in
  25     the Previous Plan at Step 11, which is on


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                                                                Page 432
    1                           McGeary
    2    page 6 of 14 of Exhibit 1?
    3                   MS. DAVILA:     Let the record
    4          reflect the witness is referring to ECF
    5          Document 113.
    6          A.       All right.     So the changes to
    7    this section in terms of NVC scheduling the
    8    applicant more accurately reflect the
    9    current process for scheduling, which,
  10     again, is based on the scheduling cycles,
  11     and let's see what this says.         This also --
  12     I mean, yeah, based on the scheduling cycles
  13     and based on the reality that if a post
  14     doesn't have capacity, then a case cannot be
  15     scheduled.
  16           Q.       Has the scheduling cycles
  17     process changed since the Previous Plan?
  18           A.       The scheduling cycles have not
  19     changed.     However, what did occur was a
  20     global pandemic that severely restricted the
  21     capacity of our posts overseas and generated
  22     a worldwide immigrant visa scheduling
  23     backlog and non-immigrant -- well, interview
  24     backlog I guess I would say.         So this Plan,
  25     of course, was submitted, you know, at the


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                                                                Page 433
    1                           McGeary
    2    beginning of the pandemic, but that backlog
    3    compounded over time.
    4          Q.       And you said that the Proposed
    5    Plan was changed based on the reality that
    6    if a post doesn't have capacity, then a case
    7    cannot be scheduled --
    8          A.       That's right.
    9          Q.       -- but was that the case at the
  10     time of the Previous Plan?
  11                    MS. DAVILA:     Objection,
  12           compound.
  13           A.       It has remained the case that if
  14     a post does not have capacity, then an
  15     interview cannot be scheduled.          However, the
  16     number of posts where demand exceeded
  17     capacity due to the pandemic, you know,
  18     physically increased the number of posts
  19     that had a capacity deficit.
  20           Q.       So are you saying that the State
  21     Department changed the Performance Standard
  22     at Step 9 of the Afghan SIV Process because
  23     of the interview backlogs for immigrant
  24     visas and non-immigrant visas?
  25           A.       Not only, but it reflects


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                                                                 Page 434
    1                           McGeary
    2    reality that if a post -- that, one, a
    3    reality that in the -- the post was still
    4    recovering and worldwide there's still an
    5    effort to return to pre-pandemic
    6    adjudicatory capacity, for one.          And, two,
    7    the fact is and has always been the case
    8    that if there is no capacity at a post, then
    9    the interview cannot be scheduled.           We don't
  10     want to schedule an interview at NVC and
  11     then have an applicant appear and there's
  12     nobody to interview them.
  13           Q.       Are there any other reasons that
  14     the State Department changed the Performance
  15     Standard at Step 9 of the Afghan SIV
  16     Process?
  17           A.       I mean, the step that's written
  18     reflects the current procedure.
  19           Q.       So no other reasons?
  20           A.       No.
  21           Q.       And we'd like to introduce
  22     Exhibit 32, which is an Excel document, so I
  23     think it may be easiest if you are able to
  24     open from your computer.         It was one of the
  25     files e-mailed to counsel earlier today.


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                                                                Page 435
    1                           McGeary
    2                    MS. DAVILA:    Are you able to
    3          share it in the chat?
    4                    MS. HIROSE:    It's marked
    5          Confidential, so it depends on you if
    6          you'd like that.
    7                    MS. DAVILA:    Let's see if we
    8          have it.
    9                    MS. HIROSE:    It's Defendant
  10           3634.     That's the Bates number.
  11                     MS. DAVILA:    Mariko, can you
  12           hear me?
  13                     MS. HIROSE:    Yes.
  14                     MS. DAVILA:    Are we off the
  15           record?     Sorry.
  16                     MS. HIROSE:    We can go off the
  17           record.
  18                     (Whereupon, a discussion was
  19           held off the record.)
  20                     MS. HIROSE:    I'd like to mark
  21           the Excel document titled
  22           DEFLD-00003634 as Exhibit 32 for the
  23           record, please.
  24                     (Exhibit 32, Excel document
  25           titled DEFLD-00003634, marked for


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                                                                Page 436
    1                           McGeary
    2          identification, as of this date.)
    3          Q.       Ms. McGeary, does this file look
    4    familiar to you?
    5          A.       It looks similar to a file
    6    that's familiar to me; yes.
    7          Q.       What is this file?
    8          A.       So the file is labeled January
    9    2023 Scheduling & Backlog Dashboard.
  10           Q.       Who prepares this file?
  11           A.       I mean, if it is the file that's
  12     used at NVC, then it is prepared by the
  13     contractor according to a -- what do you
  14     call it -- formula basically.
  15           Q.       And what is the file used for?
  16           A.       The file is used to basically
  17     allow NVC to see the capacity at any given
  18     post and also to enable us to report on
  19     cases scheduled.
  20           Q.       Is this file prepared on a
  21     monthly basis?
  22           A.       Yes.
  23           Q.       I'm going to go to the tab
  24     marked SIV(SQ) Backlog.
  25                    Do you see the Excel spreadsheet


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                                                                Page 437
    1                           McGeary
    2    with dates on the top row and post codes on
    3    the left-hand side column?
    4           A.      Yes.
    5           Q.      Are you familiar with this tab
    6    of Exhibit 32?
    7           A.      I'm aware that it exists.        I'm
    8    not the one who would operationally use it
    9    on a daily basis.
  10            Q.      Do you know what this tab shows?
  11            A.      Well, it says SIV(SQ), so that's
  12     Afghan SIV backlog, so that would normally
  13     show the cases that were pending
  14     adjudicatory capacity at a given post for
  15     that time frame that's listed in the top
  16     whatever the month, September '21, month and
  17     year it looks like.
  18            Q.      I'm going to scroll down to the
  19     row titled KBL.
  20                    Do you see that KBL?       Do you see
  21     that row on the screen that's highlighted
  22     now?
  23            A.      Yes.
  24            Q.      Does KBL stand for Kabul?
  25            A.      Yes.


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                                                                Page 438
    1                           McGeary
    2          Q.       What does it mean for Kabul to
    3    be showing 21,067 as the number under the
    4    column for January '23?
    5          A.       So that would be the number of
    6    documentarily complete cases for IV interview
    7    that are pending scheduling, so, therefore,
    8    pending the applicant's notification of
    9    where they would like to be interviewed.
  10           Q.       And if you could look at the row
  11     that says ISL, we'll scroll up, do you see
  12     that row, it's highlighted now?
  13           A.       Yes.
  14           Q.       Is ISL Islamabad?
  15           A.       Yes.
  16           Q.       So does this tab show that the
  17     backlog of SIV cases at Islamabad is 387 as
  18     of January 2023?
  19           A.       That's what's marked there; yes.
  20           Q.       And we're going to go now to the
  21     tab that's labeled Capacity.
  22                    Are you familiar with this tab?
  23           A.       Once again, I'm familiar that it
  24     exists, but as the director, I'm not the one
  25     operationally that would be using it.


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                                                                Page 439
    1                           McGeary
    2            Q.     So I'm going to scroll again to
    3    the row that's labeled ISL, and do you see
    4    that in October 2019 Islamabad had a
    5    capacity to interview 1,775 slots?
    6            A.     That's what it says; yes.
    7            Q.     And if we scroll all the way to
    8    the right, do you see that in January of
    9    2023, Islamabad had 830 slots available?
  10             A.     That's what it says; yes.
  11             Q.     So is the interview capacity at
  12     Islamabad lower than it has been in the
  13     past?
  14             A.     I mean --
  15                    MS. DAVILA:     Objection,
  16             ambiguous.
  17             A.     I mean, you would have to scroll
  18     back and compare the interview capacity that
  19     is listed here on a monthly basis.
  20     Definitely interview capacity fluctuates for
  21     any number of reasons.
  22             Q.     But interview capacity --
  23             A.     (Indiscernible due to
  24     over-speaking.)
  25             Q.     I'm sorry.     Were you saying


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                                                                Page 440
    1                           McGeary
    2    something else?
    3          A.       Yes.   At every post it
    4    fluctuates.
    5          Q.       But interview capacity at
    6    Islamabad has been higher at points in the
    7    past than it was in January 2023?
    8                   MS. DAVILA:     Objection,
    9          ambiguous.
  10           A.       The capacity that's listed on
  11     this chart, I mean, it's -- you can compare,
  12     it's at some points higher, some points
  13     lower.
  14           Q.       Is it the post that makes a
  15     determination as to its interview capacity?
  16           A.       Yes, it is.
  17           Q.       Is there -- withdraw that
  18     question.
  19                    MS. HIROSE:     I will put away
  20           this exhibit for now and introduce
  21           DEFLD-00001772 as an exhibit.          And I'd
  22           like to mark that as Exhibit 33 for the
  23           record, please.
  24                    (Exhibit 33, cable dated October
  25           21, 2021 bearing Bates Nos.


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                                                                Page 441
    1                           McGeary
    2          DEFLD-00001772 -- 1781, marked for
    3          identification, as of this date.)
    4                   MS. DAVILA:     Could you please
    5          repeat the -- you said DEF 1 --
    6                   MS. HIROSE:     772.
    7                   MS. DAVILA:     Let the record
    8          reflect we've handed the printout of
    9          the exhibit to the witness.
  10                    Counsel, it's fine if you'd like
  11           to put it on the screen as well.
  12           Q.       Do you have in front of you a
  13     document that says DEFLD-00001772 on the
  14     bottom right-hand corner on the first page?
  15           A.       Yes.
  16           Q.       And is it a 10-page document?
  17           A.       Yes.
  18           Q.       I'm going to ask you if you
  19     recognize it, so please take the time to
  20     review it and let me know when you're done.
  21           A.       Okay.
  22           Q.       Do you recognize Exhibit 33?
  23           A.       Yeah.   I mean, I recognize it as
  24     department guidance that was transmitted to
  25     post in October 2021.


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                                                                Page 442
    1                           McGeary
    2          Q.       Is this guidance currently in
    3    effect?
    4          A.       I don't have in front of me the
    5    latest guidance, whether this guidance was
    6    superseded by more recent guidance, but I'm
    7    aware of similar guidance being in effect.
    8    It prioritizes, as I said, Afghan SIV
    9    interviews.
  10           Q.       Okay.   You can keep that there
  11     with you.
  12                    MS. HIROSE:     I'm going to
  13           introduce as Exhibit 34 for the record
  14           DEF 1782.
  15                    (Exhibit 34, cable dated
  16           December 22, 2021 bearing Bates Nos.
  17           DEFLD-00001782-1786, marked for
  18           identification, as of this date.)
  19                    MS. DAVILA:     Let the record
  20           reflect we've passed a paper copy of
  21           the exhibit to the witness.
  22                    MS. HIROSE:     Okay.
  23           Q.       And this document should be
  24     labeled DEFLD-00001782 on the bottom right.
  25                    Do you see that?


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                                                                Page 493
    1                           McGeary
    2    completeness.     Step 3, NVC sends completed
    3    application.     And then to Step 6 again and
    4    Step 7 and onwards.       So the NVC parts of the
    5    process for SIV are twofold.         It's both the
    6    application side in general and then the
    7    immigrant visa side.
    8          Q.       Which unit at NVC would handle
    9    Iraqi SIV applicants at Step 2?
  10           A.       This is so hypothetical.        So, I
  11     mean, right now I don't believe there's any
  12     in Step 2.     If there were to be applicants,
  13     I mean, we created a separate unit for SIV
  14     COM, which is within timeliness.          It would
  15     really depend.      Like for some reason if
  16     there was to be a huge amount of demand,
  17     then it would be specific for any program,
  18     specific staffing that the contractor would
  19     assign to be able to accommodate it.           That
  20     doesn't exist right now for the Iraqi
  21     program.
  22           Q.       Does NVC receive appeals from
  23     COM denials for Iraqi applicants?
  24           A.       It is possible.
  25           Q.       Which unit would process those


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                                                                Page 494
    1                           McGeary
    2    appeals?
    3          A.       So they would come into the
    4    e-mail box, and, again, the review would
    5    entail making sure that whatever document
    6    was deemed to be deficient in the
    7    application process is, in fact, present and
    8    it wasn't a duplicate -- like basically the
    9    applicant didn't just resubmit the same
  10     document that had already been denied, but
  11     there's no other evaluation that is
  12     performed because NVC is -- NVC's portion of
  13     the process is purely administrative and it
  14     would be sent back to the COM designee for
  15     adjudication.     That's the general appeals
  16     process for SIV cases.
  17           Q.       The e-mail box that Afghan --
  18     sorry.     Withdraw that.
  19                    The e-mail box that Iraqi SIV
  20     applicants would use is that same e-mail box
  21     as the Afghan SIVs?
  22           A.       Honestly, I need to confirm.
  23     But it is handled by e-mail, the same
  24     general type of process.
  25           Q.       Is it handled by the same unit


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                                                                Page 495
    1                            McGeary
    2    that handles Afghan SIVs?
    3          A.       I think, again, we're dealing
    4    with a hypothetical, but the Afghan SIV --
    5    SIV COM was kind of surged to be able to
    6    handle the influx of Afghan SIV applicants,
    7    so whether or not the contractor would
    8    handle it through that box or separately,
    9    I'm not sure, but I do know that all e-mail
  10     correspondence boxes that exist at NVC are
  11     fully within term limits.
  12           Q.       Do you see how at Step 2 of the
  13     Iraqi process, the Proposed Performance
  14     Standard uses business days?
  15           A.       I see that.
  16           Q.       Is that for the same reason that
  17     the Proposed Plan for the Afghan Process
  18     uses business days?
  19           A.       It is.
  20           Q.       Do you see at the next step for
  21     the Proposed Performance Standard, it says
  22     five business days?
  23           A.       I see that.
  24           Q.       Does the Proposed Plan use
  25     business days for the same reason that the


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                                                                Page 496
    1                            McGeary
    2    NVC uses business days at other steps in the
    3    Proposed Plan?
    4          A.       Yes.    Yes.
    5          Q.       And at Step 7 of the Iraqi plan,
    6    which is on the next page, page 4 of 17,
    7    bottom of the page --
    8          A.       Okay.
    9          Q.       -- do you see what I'm looking
  10     at?
  11           A.       I do.
  12           Q.       Do you see that the Performance
  13     Standard at Step 7 of the Iraqi process says
  14     15 business days?
  15           A.       I do.
  16           Q.       And this is a change from
  17     5 days, which was in the Previous Plan at
  18     Step 8?
  19                    MS. DAVILA:     Let the record
  20           reflect that the witness is referring
  21           to ECF Document 113.
  22           A.       Yes, I see that.
  23           Q.       Why did the State Department
  24     make this change in the Proposed Plan?
  25           A.       It reflects the reality of


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                                                                Page 497
    1                           McGeary
    2    contractor's time allotted for that step.
    3          Q.       Is the same unit handling Afghan
    4    SIV applications at this step also handling
    5    Iraqi SIV applications?
    6          A.       So, I mean, again, I think it
    7    would depend on -- the contractor adjusts
    8    routinely the way that it manages its
    9    workload based on demand, and so I -- it
  10     would depend on what level of demand, you
  11     know, and then the contractor would either
  12     break down units or assign individuals or
  13     perhaps, you know, keep them in the same
  14     pool together with Afghans depending on
  15     ability to keep posts (indiscernible).            It
  16     really is adjusted based on, you know,
  17     workload and demand.
  18           Q.       So LDRM could adjust how it's
  19     handling Iraqi applications at Step 7
  20     depending on circumstances?
  21                    MS. DAVILA:     Objection, calls
  22           for speculation.       Objection,
  23           repetitive.
  24           A.       So, as I mentioned, for
  25     instance, due to the volumes of Afghan SIVs,


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                                                                Page 498
    1                           McGeary
    2    the Government gave technical direction to
    3    the contractor that the prioritization
    4    within the context of processing of all
    5    types of immigrant visas at this stage
    6    should be, you know, basically the
    7    prioritization should be given to processing
    8    Afghan SIVs to make sure that they remained
    9    in timeliness given the volumes.          If the
  10     same issue were to occur with Iraqi SIVs,
  11     quite possibly there would be similar
  12     technical guidance and the contractor would
  13     respond accordingly.       There's not been any
  14     surge for Iraq SIV immigrant visa
  15     pre-processing steps.
  16           Q.       Does the prioritization mean
  17     that Afghan SIVs are being prioritized over
  18     Iraqi SIVs at Step 7 of the Proposed Plan?
  19                    MS. DAVILA:     Objection,
  20           mischaracterizes testimony.         Objection,
  21           calls for speculation.        Objection,
  22           ambiguous.
  23           A.       So the contractor across the
  24     board has the timeliness imperative of 10
  25     business days for any type of immigrant visa


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                                                                Page 499
    1                           McGeary
    2    pre-processing at that step, the immigrant
    3    visa step, and because of the massive demand
    4    and rate of documentarily complete
    5    application approvals of Afghan SIV cases,
    6    we gave additional direction that not to
    7    allow the Afghan SIV program to -- sorry --
    8    to do everything in the contractor's power
    9    to make sure that the Afghan SIV program
  10     remains in timeliness.        We've not had a
  11     similar issue, as I mentioned, for the Iraq
  12     program.    Were we to have one, we would
  13     definitely address that with the contractor
  14     in terms of technical guidance.          It's not a
  15     case of prioritizing one over any others.
  16     It's just a matter of making sure that that
  17     one group given the volume is not exceeding
  18     that 10 business days.
  19           Q.       Is it --
  20           A.       (Indiscernible due to
  21     over-speaking.)
  22           Q.       I'm sorry, go ahead.
  23           A.       I said despite the volume, they
  24     should be making sure that it does not
  25     exceed the 10 business days.


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                                                                Page 500
    1                           McGeary
    2          Q.       Is it the case that the
    3    Performance Standard for Iraqi SIVs at
    4    Step 7 has increased to 15 business days
    5    because of the volume of Afghan SIV
    6    applicants from the Department's
    7    perspective?
    8          A.       No.   I wouldn't state that.
    9    Again, what I state is aligning with the
  10     reality of the contractor having already
  11     10 business days in order to perform that
  12     function for any case writ large and for
  13     consistency.
  14           Q.       And why were the five additional
  15     business days added to the Iraqi SIV process
  16     over what the contractor requires -- I'm
  17     sorry.     I'll start again.
  18                    Why did the State Department add
  19     five business days for the Iraqi SIV process
  20     over what the contract requires for LDRM at
  21     Step 7 of the Proposed Plan?
  22                    MS. DAVILA:     Objection,
  23           ambiguous.     Objection, repetitive.
  24           A.       So once again, it's for
  25     consistency to align with reality that the


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                                                                Page 501
    1                           McGeary
    2    contractor already has 10 business days and
    3    we're not adding 5 days to put in, and the
    4    reality is the processing occurs much faster
    5    than that.     It is to allow for, you know,
    6    any kind of incoming volumes.
    7          Q.       But the incoming volumes is not
    8    about the Iraqi SIVs; correct?
    9                   MS. DAVILA:     Objection,
  10           ambiguous.
  11           A.       That would be hypothetical.
  12     We're aware absolutely we can anticipate
  13     huge incoming volumes of Afghan SIVs, that's
  14     a given fact.      Whether or not we have higher
  15     volumes of other types of SIVs or IVs,
  16     again, the 15 business days is to allow for
  17     that eventuality.
  18           Q.       Is it fair to say that there
  19     won't be a surge in volume of Iraqi SIVs
  20     given that the application period has closed
  21     for the Iraqi program?
  22                    MS. DAVILA:     Objection,
  23           misstates testimony.       Objection, calls
  24           for speculation.       Objection, asked and
  25           answered.


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                                                                Page 502
    1                           McGeary
    2          A.       So there's no separate Iraq SIV
    3    unit that the contractor has.         So the
    4    contractor is drawing from the same pool of
    5    individuals who are handling the Afghan SIV,
    6    I'm talking about the IV side of the process
    7    now, the Afghan SIV and any other immigrant
    8    visas.     Within that, depending on need
    9    volumes, the government at any point in time
  10     can give technical direction to the
  11     contractor stating make sure that you
  12     prioritize these to make sure that they stay
  13     within the -- your contractual timeliness,
  14     and that right now is the case for Afghan
  15     SIVs and the contractor is within time
  16     limits.     So, again, it really depends on the
  17     scenario, and this is to account for the
  18     fact that there is no separate Iraq unit.
  19     It's the same unit.
  20           Q.       So it accounts for the possible
  21     increase in volume from IV applications
  22     other than SIV applicants -- other than
  23     Iraqi SIV applicants?
  24           A.       It accounts for the possible
  25     increased volume of workload for that unit,


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                                                                Page 503
    1                           McGeary
    2    primarily due to most likely Afghan SIVs;
    3    yes.    But, again, this is within.        It's not
    4    saying that a case will not be routinely
    5    completed before that time.
    6           Q.      On the next page, which is page
    7    5 of 17, Step 9, do you see that in the
    8    third column it refers to completeness?
    9           A.      I'm sorry.     What page are you on
  10     now?
  11            Q.      5 of 17.
  12            A.      Okay.   Uh-huh.
  13            Q.      Do you see that the description
  14     for Step 9 uses the word completeness?
  15            A.      Yes.
  16            Q.      Is the State Department using
  17     that word completeness in the Proposed Plan
  18     for the same reason that it used that word
  19     for the Afghan Plan?
  20            A.      So the term documentarily
  21     complete is the standard term that we use at
  22     NVC to describe the -- whether or not the
  23     applicant has met the criteria to proceed to
  24     the next step.
  25            Q.      And that's why the State


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                                                                Page 504
    1                           McGeary
    2    Department used that term in Step 9 of the
    3    Iraqi Plan?
    4          A.       Correct.
    5          Q.       And do you see that in the
    6    Performance Standard column of Step 9 of the
    7    Iraqi Plan, it uses 15 business days as the
    8    standard?
    9          A.       Yes, I see that.
  10           Q.       Is the State Department using
  11     that Performance Standard for the same
  12     reasons that it is using that standard for
  13     the Afghan SIV program in the Proposed Plan?
  14           A.       Yes.
  15           Q.       And for Step 9, when it says on
  16     the Performance Standard that NVC will
  17     determine whether the case is documentarily
  18     complete within 15 days of receipt, does
  19     that include notifying the applicant whether
  20     they are documentarily complete or not?
  21           A.       Yes.   So similar to the process
  22     that I described for the Afghan SIV process,
  23     an applicant could provide documents all at
  24     once or bit by bit depending on varying time
  25     frames, they could provide a document that


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                                                                Page 505
    1                            McGeary
    2    doesn't meet the reciprocity and, therefore,
    3    is not able to be considered complete, and
    4    each time there is an exchange with the
    5    applicant and the contractor has 10 business
    6    days and within 15 business days to account
    7    for potentially increased volume.
    8          Q.       The contractor has 10 business
    9    days under its contract to respond to the
  10     applicant?
  11           A.       Right.    To respond to the
  12     applicant and the response could say
  13     depending -- it depends on what the
  14     applicant's provided.       I mean, maybe they
  15     provided one document.        They might say, yes,
  16     thank you for this one document, you still
  17     are missing four.       Maybe they provided them
  18     all and they'll say okay, your case is
  19     documentarily complete, then we'll move to
  20     the next step.      It depends.
  21           Q.       Okay.
  22                    And under the Proposed Plan,
  23     Step 9, the Proposed Performance Standard is
  24     that the NVC will respond to the applicant
  25     within 15 business days?


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                                                                Page 506
    1                           McGeary
    2          A.       Yes.
    3          Q.       Turning to Step 10 of the Iraqi
    4    Plan, do you see that the Performance
    5    Standard says 10 business days?
    6          A.       I do.
    7          Q.       Does the standard use 10
    8    business days for the same reasons that
    9    business days is used throughout the
  10     Proposed Plan for NVC?
  11           A.       So the use of proposed business
  12     days is because the contractor works within
  13     business days contractual requirement; yes.
  14           Q.       At Step 10, are interviews being
  15     scheduled at Embassy Baghdad as of now?
  16           A.       I believe there's limited
  17     capacity at Embassy Baghdad, but I'm not
  18     sure where they're being scheduled right now
  19     writ large without consulting the scheduling
  20     worksheet.     Again, not having the cases to
  21     schedule, I don't deal with that on a
  22     regular basis.
  23           Q.       Is Embassy Baghdad open for
  24     interviews at this point?
  25           A.       I think because the scheduling


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                                                                Page 507
    1                           McGeary
    2    workbook is a definitive document we used to
    3    determine post capacity for interview, we
    4    can reopen that document and check what it
    5    says.
    6            Q.     Okay.   So we can screen share,
    7    this is Exhibit 32, DEFLD 3634.
    8                   Is this the document you were
    9    just referring to --
  10             A.     Yes.
  11             Q.     -- Ms. McGeary?
  12             A.     Yes, it is.
  13             Q.     And what should we look at to
  14     determine?
  15             A.     So BGH, which is Baghdad, and
  16     look at the capacity, it says providing
  17     zero -- well, that's -- we need to scroll
  18     over to the time -- to the current time
  19     frame because that was during COVID.           No.
  20     It is -- it has no capacity listed.
  21             Q.     When Embassy Baghdad opens, will
  22     Iraqi SIV cases have to be transferred there
  23     if applicants want to be interviewed there?
  24             A.     That's a complicated question,
  25     so I'm unaware right now based on current


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                                                                Page 508
    1                           McGeary
    2    information whether or not there are cases
    3    pending there.      I would assume that if there
    4    were, the applicants would have given their
    5    desire to be notified of their desire to be
    6    interviewed elsewhere, so it could be
    7    there's no pending cases there.          Again, we
    8    don't have -- I mentioned I believed there
    9    was like one case pending in NVC's queue
  10     which is pending applicant action, so this
  11     is kind of like a hypothetical question
  12     right now.
  13           Q.       Could we go to the SIV(SQ)
  14     Backlog tab.     And do you see the row
  15     highlighted BGH?
  16           A.       I do.
  17           Q.       Okay.
  18                    And it looks like there are no
  19     cases pending at Baghdad right now.
  20           A.       It does appear to be the case.
  21           Q.       Well, for Kabul there were many
  22     cases pending there even though it's closed?
  23                    MS. DAVILA:     Objection,
  24           ambiguous.
  25           A.       So I think I want to once again


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                                                                Page 515
    1                           McGeary
    2    and it starts in the previous page, but
    3    it's -- there's a section that says:           For
    4    purposes of this Revised Adjudication Plan,
    5    Defendants will include all Afghan and Iraqi
    6    SIV applicants in their reporting.
    7                   Do you see that?
    8          A.       Yes.
    9          Q.       I'm going to ask about that and
  10     first just focus on the class members who
  11     are covered by the Previous Plan.          So if you
  12     could also pull out Exhibit 1, which is
  13     Document 113.
  14           A.       Okay.
  15           Q.       Page 2 of 14.
  16                    Do you see that numbered list on
  17     that page?
  18           A.       Yes.
  19           Q.       And it continues to the
  20     following page?
  21           A.       Yes, it does.
  22           Q.       Do the parameters listed here
  23     accurately describe how Defendants
  24     identifies class members for purposes of the
  25     Previous Plan?


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                                                                  Page 516
    1                           McGeary
    2          A.       I'm reading it.      So, I mean, the
    3    parameters were what the Government
    4    endeavored to follow when it came to
    5    identifying class members, but it
    6    experienced a number of complications in
    7    implementing that -- those parameters.
    8          Q.       Can you describe the
    9    complications you're talking about?
  10           A.       Definitely.     One such
  11     complication is the very nature of -- well,
  12     the complex nature of the SIV pipeline or
  13     lifeline even I guess you can call it, the
  14     very number of agencies and offices that are
  15     involved throughout the lifeline of an SUV
  16     application, the number of systems used by
  17     each one of those agencies and offices and
  18     that they differ, the discreet systems.            The
  19     inability by some of those systems to even
  20     have any interface with the other systems
  21     when it comes to any possible tracking, the
  22     fact that the very manual nature of the
  23     assignment of a tracking identifier to the
  24     cases created inconsistencies and gaps in
  25     the reporting that were noted as well by the


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                                                                Page 517
    1                              McGeary
    2    Plaintiffs, the fact that the systems do
    3    not -- are not designed to track applicants
    4    in that fashion and there is no way without
    5    going into case notes to determine whether
    6    or not a case is pending government action
    7    or pending applicant action at any given
    8    step of the process.         A host -- a whole host
    9    of complications.
  10             Q.        You mentioned the manual nature
  11     of the assignment of a tracking identifier.
  12                       Could you describe what you mean
  13     by that?
  14             A.        Yes.   For instance, under the --
  15     we're not calling it the old plan, we're
  16     calling it the prior plan, the --
  17             Q.        The Previous Plan.
  18             A.        Previous Plan.    Thank you.     I
  19     was looking for that word.          The Previous
  20     Plan.        The process involved, first of all,
  21     USCIS.        So USCIS has their own systems and
  22     its own methodology for assigning case
  23     numbers or other codes to a case.          Once a
  24     case arrives at NVC, it has to be input into
  25     NVC's systems, which would involve another


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                                                                   Page 518
    1                            McGeary
    2    set of systems and another set of codes.             If
    3    we're talking about NVC's private process
    4    only, the very first interaction is the
    5    applicant writing an e-mail to NVC, so the
    6    very first identifier would be an e-mail.
    7    After that, the applicant would be assigned
    8    a unique case number.        That case number
    9    would prevail up until the point where the
   10    case becomes documentarily complete --
   11    sorry.    And then that case is entered into
   12    the (SQ)SIV system, but when it is
   13    documentarily complete upon review, then
   14    ASIV, that is the office in the State
   15    Department that is responsible for the COM
   16    adjudication process, uses another system
   17    and would have to manually assign a case
   18    number in that system or some kind of
   19    identifier.     For NVC's purposes only, NVC
   20    had attempted to track class members by
   21    putting an indicator I believe with a 77 or
   22    99, I can't remember which one of the two
   23    apply to Afghan cases, into the tax number
   24    field, and then was able to identify how
   25    long an applicant has spent in NVC.


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                                                                 Page 519
    1                            McGeary
    2    However, we are not able easily to
    3    differentiate between the time the applicant
    4    spent in a NVC, thus U.S. government-
    5    controlled part of the process, and which
    6    part was actually pending applicant action.
    7    I talked about the back and forth that
    8    ensues when it comes to collecting
    9    documents, for instance.          In some cases, the
   10    applicant provides them right away, in other
   11    cases it could take a day, weeks, months,
   12    longer to receive the documents, meaning the
   13    Government can take no action.
   14                   I'm trying to think what else.
   15    Basically the only way to determine whether
   16    or not a case is pending government or
   17    applicant action is to look into the case
   18    notes and see what happened with that.
   19                   So it's basically the fact that
   20    there's -- each one of the government
   21    processes uses an entirely different system
   22    and you have to basically start all over
   23    again and manually enter a tracking number,
   24    which will not survive to the next step.
   25    Therefore, it makes the entire process very


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                                                                 Page 520
    1                            McGeary
    2    much prone to human error.
    3          Q.       To make sure I'm understanding,
    4    the manual identifying number is a number
    5    specific for class member reporting
    6    purposes?
    7          A.       For -- I can speak only for NVC.
    8    For class members, there was an
    9    identifier -- specific identifier issued and
   10    that was input into the tax identification
   11    number field, but, again, as I said, first
   12    there's an e-mail that comes in, then there
   13    is a case number that's assigned, then the
   14    case goes into (SQ)SIV, goes to COM.            Once
   15    it comes out of -- and ASIV has got their
   16    very own system and own way of tracking
   17    identifying cases.       Comes back into NVC for
   18    IV processing.      In the old way, there is a
   19    USCIS petition involved and they're tracking
   20    their system.      So honestly it really depends
   21    on processors manually entering a number at
   22    any given step of the process to be able to
   23    track how long an applicant has spent in
   24    that step.     However, it does not at all
   25    state how long the applicant has spent in


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                                                                 Page 521
    1                            McGeary
    2    government-controlled parts of the process,
    3    without going into case notes.          Again,
    4    manually, case by case.
    5          Q.       You were able -- you said that
    6    NVC was able to identify how long an
    7    applicant has spent in NVC.
    8                   Did you mean in NVC total across
    9    both the pre-COM and the IV process?
   10          A.       Well, that would be again a
   11    manual process adding and using different
   12    systems.     And, once again, we can't
   13    differentiate between the time the applicant
   14    would have spent in something that is
   15    pending, government action versus pending
   16    applicant's action.
   17          Q.       Other than having to transfer
   18    information across systems, was the
   19    identification of class members a one-time
   20    thing?
   21                   MS. DAVILA:     Objection,
   22          ambiguous.     Objection, mischaracterizes
   23          testimony.
   24          A.       It's not an automated process if
   25    that's what you're asking.


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                                                                 Page 522
    1                            McGeary
    2          Q.       And --
    3          A.       And it is subject to human error
    4    because, as has been noted in the various
    5    meet and confer exchanges, that there's been
    6    discrepancies noted, and what's the plainest
    7    believed to be the number of applicants at
    8    any part of the process and what the
    9    government is reporting for the very reason
   10    that human error definitely is entered into
   11    the equation the more times you have to
   12    manually enter a process, the more systems
   13    you have to manually transfer an identifier
   14    to, and including systems that actually have
   15    no interface and no ability to do that.
   16    It's not the way that they were designed
   17    basically.
   18          Q.       Other than transferring the
   19    information across systems -- withdraw that
   20    question.     Maybe I'll just step back and
   21    ask, how did NVC implement the parameters on
   22    page 2 of 14 of Exhibit 1 initially?
   23          A.       So the first step reflects the
   24    number of -- I mean, that's the e-mail,
   25    initial COM application e-mail process, and


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                                                                 Page 526
    1                            McGeary
    2    already expanded the scope to include others
    3    who had applied after May 22 of 2020.
    4          Q.       So I hear you to be saying there
    5    are three justifications for Defendants'
    6    changes to class member accounting.           One,
    7    the system design issues.         Two, the expanded
    8    scope of class members covered by the
    9    Proposed Plan.      And, three, the volume of
   10    SIV applicants.
   11                   Is that fair?
   12                   MS. DAVILA:     Objection,
   13          mischaracterizes the testimony.
   14          A.       There's the element of human
   15    error that is magnified at every time that
   16    you need to report on an expanding set of
   17    class members at any given stage of a
   18    process in various -- in several different
   19    U.S. Government offices using several
   20    different U.S. Government systems.           There is
   21    the huge volumes, as I mentioned.           There is
   22    the fact that the scope was expanded.
   23    Therefore, possibly requiring many different
   24    possibly even daily updates to the scope and
   25    the reporting, and then also the reporting


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                                                                 Page 527
    1                            McGeary
    2    burden because this very manual process and
    3    the reports basically require a tremendous
    4    amount of bandwidth on the part of the very
    5    U.S. Government officials who -- and very
    6    contractors who are responsible for ensuring
    7    smooth processing of these applications and
    8    who are working consistently and constantly
    9    on ways to improve the process and
   10    facilitate the ability of Afghan and Iraqi
   11    applicants to make their way through the
   12    entire process.
   13          Q.       Are there any other
   14    justifications for changes to class member
   15    reporting in the Proposed Plan?
   16          A.       Well, there's the accuracy
   17    argument, as I mentioned, not to constantly
   18    have to have confusion as to, you know, why
   19    are -- why does our data not match the
   20    Plaintiffs' data.
   21          Q.       Anything else?
   22          A.       Those are the main reasons.
   23          Q.       You mentioned the fact that the
   24    systems were not designed for class member
   25    reporting as one justification for changing


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                                                                 Page 528
    1                             McGeary
    2    class member reporting; is that right?
    3                      MS. DAVILA:   Objection,
    4            mischaracterizes testimony.
    5            A.        So there are system impediments
    6    because there are many systems involved, as
    7    I mentioned, and a manual process along each
    8    step of the way and there are systems that
    9    are not connected to some of the other
   10    systems and creating a greater obstacle.
   11    The larger systems that the Department uses
   12    are designed to process a certain stage of
   13    an immigrant visa application.          They're not
   14    designed for the purpose of reporting.
   15    They're designed for the purpose of
   16    pre-processing and processing and scheduling
   17    and having an applicant attend an interview
   18    and have an immigrant visa adjudication
   19    made.        The purpose is really focused on the
   20    process, not on reporting.         That's how the
   21    systems are designed.
   22            Q.        Did those system impediments
   23    that you just spoke about exist at the time
   24    that the Previous Plan went into effect?
   25            A.        They did.


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                                                                 Page 529
    1                            McGeary
    2          Q.       Could the State Department
    3    continue to identify class members covered
    4    under the Previous Plan using the method
    5    that it used previously?
    6                   MS. DAVILA:     Objection,
    7          repetitive.      Objection, ambiguous.
    8          A.       So I have mentioned the
    9    impediments to accurate reporting and the
   10    bandwidth involved in trying to make
   11    reporting and the gap that ensues in ability
   12    to differentiate between government-
   13    controlled steps and applicant-controlled
   14    steps.     So our focus, above all here at NVC
   15    and in the State Department, is to make
   16    every possible effort to ensure that the
   17    Afghan SIV applicant is able to make their
   18    way through the steps all the way up to
   19    interview, and that's the focus -- very
   20    concentrated focus of several offices with
   21    which I collaborate and policy direction
   22    from the highest levels of the State
   23    Department, so our efforts really are
   24    focused on being able to process these
   25    cases.     To the extent that we have an


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                                                                 Page 530
    1                            McGeary
    2    imperfect or a reporting requirement that
    3    relies upon systems that are not connected
    4    to begin with relies on a very manual
    5    process will produce inaccuracies and will
    6    definitely consume continued bandwidth, that
    7    is, we prefer to direct honestly toward the
    8    processing.     But is it theoretically
    9    possible?     Yes, of course it's theoretically
   10    possible, but the end result will be again
   11    an imperfect product that possibly will
   12    generate confusion and will consume
   13    bandwidth.
   14          Q.       And specifically with respect to
   15    the class members that were covered under
   16    the Previous Plan, are the impediments that
   17    you mentioned just now the same as they were
   18    when the State Department was doing class
   19    member reporting under the Previous Plan?
   20                   MS. DAVILA:     Objection,
   21          repetitive.      Objection,
   22          mischaracterizes testimony.
   23          A.       So the circumstances, as I
   24    mentioned, did change between the Previous
   25    Plan being formulated and now, the closure


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                                                                 Page 531
    1                            McGeary
    2    of our Embassy in Kabul, the huge surge in
    3    demand of Iraqi and Afghan SIV applications
    4    and interest, the Congress changing the
    5    scope of the program, basically expanding
    6    the ability or the -- I guess the
    7    requirements for the SIV Program, the
    8    pandemic, the worldwide pandemic that
    9    resulted in backlog and staffing shortages
   10    worldwide, constrained operations, also the
   11    technical improvements that the State
   12    Department has made in its ability to handle
   13    the e-mails that we use both for the SIV COM
   14    application process and for the IV side of
   15    the process, the additional staffing that
   16    the State Department applied across the
   17    board including massive search staffing for
   18    in NVC and elsewhere to handle the
   19    applications, the fact that the contractor
   20    is fully within timeliness to implement the
   21    NVC portions of the process and has put in
   22    place steps to continue to be in timeliness.
   23    For all of these reasons, I think there's
   24    vastly changed circumstances to, you know,
   25    between the Previous Plan and now.


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                                                                 Page 532
    1                            McGeary
    2          Q.       Do those changed circumstances
    3    affect the State Department's reporting with
    4    respect to class members covered under the
    5    Previous Plan?
    6                   MS. DAVILA:     Objection,
    7          repetitive.      Objection, cumulative.
    8          Objection, asked and answered.
    9          A.       Again, we're -- the system's
   10    limitations are what they are.          The manual
   11    process does --
   12          Q.       I --
   13                   MS. DAVILA:     Objection to
   14          interrupting the witness.         Please
   15          finish your answer.
   16          A.       The manual process does
   17    introduce in multiple steps the capacity for
   18    human error and then discrepancies in
   19    reporting.     Our focus absolutely is diverted
   20    when it comes to bandwidth to be able to
   21    collaborate on process and other
   22    improvements that are ultimately going to
   23    facilitate the ability of Afghans to move
   24    their way through these processes and get
   25    their immigrant NVC interview, which is


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                                                                 Page 536
    1                            McGeary
    2                   MS. DAVILA:     Objection,
    3          ambiguous.     Objection, repetitive.
    4          Objection, calls for speculation.
    5          Objection, asked and answered.
    6          A.       I'm not sure I really understand
    7    your question on how the volume would impact
    8    the reporting burden.        The reporting burden
    9    remains the same.       To the extent that
   10    volumes increase, the reporting burden is
   11    magnified as is the capacity for propensity
   12    for human error.
   13          Q.       You said to the extent that
   14    volumes increase, the reporting burden is
   15    magnified, and you're saying that's the case
   16    if the reporting has to be done on the
   17    increased volume; right?
   18                   MS. DAVILA:     Objection,
   19          mischaracterizes testimony.          Objection,
   20          ambiguous.     Objection, repetitive.
   21          A.       So the individuals who had spent
   22    nine months in the process as of the
   23    original, you know, date, you know, at one
   24    point -- again, like some of them are most
   25    likely -- yes, they must have been through


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                                                                 Page 537
    1                             McGeary
    2    the first process of NVC by now, but now
    3    that volume is elsewhere, so that reporting
    4    burden is magnified for that office in which
    5    these applicants find themselves at this
    6    point in time.        So, I mean, I'm not only
    7    speaking for NVC, I'm speaking for any U.S.
    8    Government office that has the obligation to
    9    report on that class.        So wherever these
   10    applicants are at this point in time in the
   11    process, there is that reporting burden and
   12    systems constraints.
   13          Q.       If you look at page 2 of 17 on
   14    Exhibit 24.
   15          A.       You said 2 of 17?
   16          Q.       Yes.
   17          A.       Yes, I see it.
   18          Q.       Do you see the sentence towards
   19    the end of the page that says in addition
   20    because multiple systems are involved,
   21    tracking the same AAP Class from quarterly
   22    report to quarterly report proved to be
   23    difficult and unduly burdensome for
   24    Defendants?
   25          A.       Yes.


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                                                                 Page 538
    1                            McGeary
    2            Q.     And I understand AAP Class to
    3    mean the class covered by the Previous Plan.
    4    Is that your understanding as well?
    5            A.     That's my understanding.
    6            Q.     Is it the case that fewer
    7    systems are involved now than when the
    8    Previous Plan went into effect?
    9            A.     To the extent that USCIS in the
   10    interest of an expedited or more expedient
   11    process for the applicant, that step was
   12    removed.     There is no longer the USCIS part
   13    of the step unless, and I can't speak for
   14    USCIS, unless there are still class members
   15    that are pending at USCIS.         I can't speak to
   16    that.
   17            Q.     The sentence talks about the
   18    difficulty and burden for Defendants of the
   19    quarterly reports.
   20                   Do you see what I'm talking
   21    about?
   22            A.     The one that starts in addition
   23    and ends Defendants?
   24            Q.     Yes.
   25            A.     Yes.


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                                                                 Page 539
    1                            McGeary
    2          Q.       Are there any difficulties and
    3    burdens aside from what we just talked
    4    about?
    5          A.       I think I enumerated the
    6    difficulties and burdens we face a few
    7    times.
    8          Q.       In the next sentence, it says:
    9    This resulted in discrepancies that required
   10    a significant amount of time and resources
   11    on the part of Defendants to resolve.
   12                   Do you see that?
   13          A.       I do.
   14          Q.       What is this sentence talking
   15    about?
   16          A.       So this sentence refers to the
   17    issue that I described previously where
   18    because of the very manual process and the
   19    very -- the multiple systems involved, human
   20    error, for instance, is one factor, and I'm
   21    aware of in the course of a meet and confer,
   22    some of these discrepancies were brought to
   23    the Department's attention, therefore, the
   24    Department had to go back and try to
   25    research why, what was the reason for the


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                                                                 Page 540
    1                            McGeary
    2    discrepancy, which involved in many cases
    3    going back through case notes and manually
    4    searching through -- through the systems to
    5    try to resolve the apparent discrepancy,
    6    and so that does take time.         It's the same
    7    individuals again who are involved with
    8    giving technical direction to the
    9    contractor, the contractor who is
   10    responsible for both quality control and for
   11    processing and for guidance to the
   12    processors and through -- go back through
   13    the chain, everybody who needs to clear on,
   14    I guess review the response that's provided.
   15          Q.       So when this sentence is
   16    referring to a significant amount of time
   17    and resources, is it talking about time and
   18    resources spent as a result of the parties'
   19    meet and confer process in this litigation?
   20          A.       Not only.     It also, as I
   21    mentioned, refers to the fact that when
   22    there's a discrepancy, there's a request to
   23    put back -- if the discrepancy occurred in
   24    NVC reporting, there would be normally a
   25    request to NVC, well, the Plaintiffs say


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                                                                 Page 541
    1                            McGeary
    2    this, you said this, please explain, and
    3    then there's research that ensues to try to
    4    track down what exactly occurred and why
    5    there's a discrepancy.        The discrepancy
    6    could be based on manual, you know, the
    7    manual process and operator error.           It could
    8    be based on systems.        It could be based on
    9    difference in interpretation of the data,
   10    whether or not we're talking about a U.S.
   11    government-controlled part of the process or
   12    an applicant-controlled part of the process,
   13    but I'm definitely aware that there were
   14    these exchanges and that every time we have
   15    to go back and verify data, that requires
   16    bandwidth effort.
   17          Q.       Were those discrepancies that
   18    you're talking about discrepancies that were
   19    pointed out by the Plaintiffs in this
   20    litigation?
   21          A.       I'm sure that there were -- I'm
   22    aware that there were discrepancies pointed
   23    out by Plaintiffs.       I don't know that that
   24    was the full scope of the discrepancies
   25    identified.     I know that the Department also


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                                                                 Page 542
    1                            McGeary
    2    identified discrepancies and reported them.
    3    I don't have the list of the discrepancies
    4    in front of me.
    5          Q.       Did reviewing the discrepancies
    6    as a result of this process result in
    7    finding that certain SIV applications had
    8    not been tracked accurately?
    9                   MS. DAVILA:     Objection,
   10          ambiguous.     And objection, calls for
   11          speculation.
   12          A.       Again, I don't have the list of
   13    discrepancies in front of me, but I believe
   14    in some cases had to do with maybe a
   15    tracking code that was not entered, again,
   16    the manual process, human error.           That could
   17    be one reason.      It could be down to the fact
   18    that, again, these systems are not designed
   19    to do that, so at every step of the way,
   20    there's a new system, new team with
   21    different office that's responsible for,
   22    again, manually entering information and
   23    reporting on it.       There could be various
   24    reasons why there are discrepancies and
   25    we're seeking to eliminate or at least we do


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                                                                 Page 543
    1                             McGeary
    2    scope -- you can't eliminate discrepancies,
    3    I would say human error can always be a
    4    factor in anything, but we are seeking to
    5    reduce the scope for possible discrepancies
    6    and, therefore, related burden both in the
    7    reporting and in research that ensues when
    8    there are discrepancies.
    9          Q.       Could Defendants identify the
   10    class members covered by the Proposed Plan
   11    using the same method that it did for class
   12    member reporting previously?
   13                   MS. DAVILA:     Objection,
   14          repetitive.       Objection, asked and
   15          answered.       Objection, cumulative.
   16          Objection, calls for speculation.
   17          A.       You're asking could we use the
   18    same imperfect process again?
   19          Q.       Yes.
   20          A.       Of course we could.       We just
   21    don't recommend doing so for the reasons I
   22    discussed.
   23          Q.       I guess, could Defendants
   24    identify the class members covered by the
   25    Proposed Plan using any methodology?


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    1                            McGeary
    2                   MS. DAVILA:     Objection,
    3          mischaracterizes testimony.          Objection,
    4          ambiguous.     Objection, calls for
    5          speculation.
    6          A.       So, once again, keeping in mind
    7    that we were told to expand the scope of the
    8    class members, that's a rolling scope and it
    9    could result almost every day in addition of
   10    class members.      Therefore, again, I've
   11    talked about the difficulties that are
   12    inherent in manual process, dealing with
   13    large volumes, operator error, the systems
   14    that are distinct depending on what phase of
   15    the processor what office is handling the
   16    information, the fact that even at least in
   17    one case that system is walled off from the
   18    others and has no ability to transfer such
   19    information, the fact that the burden that
   20    is -- that ensues on compiling the reports,
   21    verifying the data and, again, accounting
   22    for discrepancies, that distracts from the
   23    ability to actually help facilitate these
   24    cases moving through the system as opposed
   25    to reporting on the fact that they're not


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                                                                 Page 545
    1                            McGeary
    2    moving through the system as fast as we
    3    would like -- as quickly as we would like.
    4          Q.       So is part of the State
    5    Department's decision not to report on class
    6    members based on the understanding that the
    7    Court Order requires Defendants to continue
    8    to identify new class members?
    9                   MS. DAVILA:     Objection,
   10          mischaracterizes testimony.          Objection,
   11          ambiguous.      Objection, calls for a
   12          legal opinion.
   13          A.       So you don't word the
   14    requirement to be -- to only report on the
   15    prior class members.        We would experience
   16    all the same difficulties that we had
   17    discussed, and our position would still be
   18    to propose that we would report on all
   19    applicants rather than a specific class.
   20          Q.       And that would be for the same
   21    reasons that you object to class member
   22    reporting under the Previous Plan?
   23                   MS. DAVILA:     Same objections.
   24          A.       Yes.    The same obstacles and the
   25    same rationale would apply.


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    1                            McGeary
    2          Q.       Turning to Exhibit 24, page 10
    3    of 17, do you see the heading Progress
    4    Reports?
    5          A.       I do.
    6          Q.       And do you see that in the first
    7    sentence under that heading, it says,
    8    Defendants shall file a progress report with
    9    the Court within 30 days of the end of the
   10    90-day reporting period?
   11          A.       Yes.
   12          Q.       If you turn to Exhibit 1, page 8
   13    of 14.
   14          A.       Okay.    Okay.
   15          Q.       Do you see that under the
   16    heading Progress Reports, the first
   17    sentence, it says:       Defendants shall lodge a
   18    progress report with the Court within 10
   19    days of the 90-day reporting period?
   20          A.       Yes.
   21          Q.       Why was that change made in the
   22    Proposed Plan?
   23          A.       Well, the reality is reporting
   24    within 10 days creates an even greater
   25    burden on the offices that are charged with


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                                                                 Page 547
    1                            McGeary
    2    overseeing the (indiscernible) and
    3    facilitating the Afghan SIV Program, and in
    4    some cases unrealistic and resulting in
    5    possibly even greater errors in data and
    6    what's being reported.        It was timeliness
    7    not sufficient.      There are multiple offices
    8    involved as I've discussed.         And multiple
    9    systems.
   10          Q.       So these are the same problems
   11    that existed under the Previous Plan?
   12                   MS. DAVILA:     Objection,
   13          mischaracterizes testimony.          Objection,
   14          ambiguous.
   15          A.       Yes, the 10 days proved to be in
   16    reality extremely burdensome and possibly
   17    contributing to discrepancies.
   18          Q.       Do Defendants start putting
   19    together the progress report immediately
   20    after the end of the 90-day reporting
   21    period?
   22                   MS. DAVILA:     Objection,
   23          ambiguous.
   24          A.       I mean, I think the timeline for
   25    compiling the report is designed to be able


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                                                                 Page 548
    1                             McGeary
    2    to file the report in a timely fashion.            I
    3    can't speak to the exact if it begins the
    4    second that the 90 days expired or what,
    5    honestly.     But a --
    6          Q.       How long --
    7          A.       But if the report -- I was just
    8    going to expand on my answer.          If the report
    9    is supposed to cover a certain period of
   10    time, clearly it can't be complete until at
   11    least after the time has expired.
   12          Q.       How long is it taking for
   13    Defendants to compile the progress reports.
   14                   Withdraw.     Start again.
   15                   How long was it taking for
   16    Defendants to compile the progress report
   17    after the end of the 90-day reporting
   18    period?
   19          A.       I mean, I would state that the
   20    aim would be to have it completed and filed
   21    within the time that is required.           I don't
   22    have the records in front of me to state
   23    whether or not we had failed to do so, but I
   24    believe that we compiled with the
   25    requirement.      Again, just stating the burden


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                                                                 Page 549
    1                            McGeary
    2    involved in multiple offices, who basically
    3    have to devote a significant amount of their
    4    bandwidth to the task of compiling and
    5    verifying a report and not to systems
    6    improvements, process improvements,
    7    processing and anything else that goes into
    8    the actual work of getting the Afghan SIV
    9    applicants through the process and to their
   10    interview, so 10 days is a stretch, I mean,
   11    it's lot on offices that handle quite a lot
   12    to begin with, this obviously being a huge
   13    priority for the State Department, but it's
   14    not by any means exclusively what we do, and
   15    it's complicated.       As I mentioned, it
   16    involves multiple offices, multiple systems,
   17    multiple levels of review, and 10 days is
   18    just inadequate for both quality reasons and
   19    for just burden reasons.
   20          Q.       Is there any written guidance as
   21    to how the agencies compile the progress
   22    reports for this litigation?
   23          A.       I mean, we compile them in
   24    consultation with legal counsel.
   25          Q.       Is there a policy somewhere that


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                                                                   Page 561
    1                            McGeary
    2          and the request?
    3                   MS. DAVILA:     To the question.       I
    4          think we can -- it would be beneficial
    5          to talk, but I think that the
    6          Government's position is that the
    7          witness has answered, but that the
    8          question is ambiguous.
    9                   MS. HIROSE:     Okay.    Just to be
   10          clear, the question that I would like
   11          to mark for a supplemental answer is
   12          the question that I asked at transcript
   13          292-1, which was so Defendants' intent
   14          under the Proposed Plan is to report at
   15          Step 9 for awaiting interview
   16          scheduling at Defendants' -- excuse
   17          me -- that who have indicated that they
   18          can appear at a third country post.
   19                   MS. DAVILA:     Understood.
   20          Objection, ambiguous.
   21                   MS. HIROSE:     I'd like to
   22          introduce Defendants DEFLD-00003767 as
   23          Exhibit 36.
   24                   MS. DAVILA:     Counsel, before we
   25          go into another document, maybe a brief


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    1                            McGeary
    2          break, could we go off the record five
    3          minutes?
    4                    MS. HIROSE:    Sure.    That's fine.
    5                    MS. DAVILA:    I also wanted to
    6          note that we, according to our clock,
    7          we're running up against the end of the
    8          deposition, I think 6:10, that's right,
    9          I wanted to verify with Plaintiffs what
   10          you have for seven hours.
   11                    MS. HIROSE:    Yes.    I think
   12          you're right that we are pretty close
   13          to the end.
   14                    MS. DAVILA:    Okay.    We're going
   15          to take five minutes and we'll be back.
   16                    MS. HIROSE:    Okay.    Thank you.
   17                    (Whereupon, a brief recess was
   18          taken.)
   19                    MS. HIROSE:    So before the
   20          break, I was saying I wanted to
   21          introduce document with Bates No.
   22          DEFLD-00003767 as Exhibit 36 for the
   23          record.
   24                    (Exhibit 36, Contract bearing
   25          Bates No. DEFLD-00003767-3865, marked


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    1                            McGeary
    2          for identification, as of this date.)
    3                   MS. DAVILA:     Let the record
    4          reflect we've passed a paper copy of
    5          3767 to the witness.
    6    CONTINUED BY MS. HIROSE:
    7          Q.       Do you recognize this document?
    8          A.       Well, I believe -- I mean,
    9    it's -- I can't say that I've like read
   10    every page of this document, but the format
   11    and the numbering is familiar to me.
   12          Q.       And what is the document?
   13          A.       Well, it's entitled Appendix 1,
   14    Section B - Supplies or Services and Prices/
   15    Costs, and it has an AQM code assigned to it.
   16          Q.       What's the --
   17                   MS. DAVILA:     Let the record
   18          reflect that the witness is reviewing
   19          the document.
   20          A.       I mean, it appears to be related
   21    to the contract that the State Department
   22    has with LDRM to perform visa support
   23    services.     I can't say it is exactly the
   24    contract not having the actual contract in
   25    front of me.


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                                                                 Page 564
    1                            McGeary
    2          Q.       What's the significance of the
    3    AQM code that you referenced?
    4          A.       So acquisitions management is
    5    the office within the State Department
    6    that's responsible -- they're the
    7    contracting officer for the visa support
    8    services contract, and that's a code that
    9    they would assign to a contract.           Again, I
   10    can't state whether or not that's the exact
   11    code that pertains to this contract.            It
   12    just appears to be.
   13          Q.       Can we turn to page 16 of this
   14    document?
   15          A.       Yes.
   16          Q.       Do you see the section titled
   17    Performance Requirements?
   18          A.       Yes.
   19          Q.       Does this contain the timeliness
   20    requirements that you referenced during the
   21    deposition today?
   22                   MS. DAVILA:     Objection,
   23          ambiguous.
   24          A.       So it says the contractor shall
   25    complete basic processing unless as


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                                                                  Page 565
    1                            McGeary
    2    otherwise noted, for immigrant visa
    3    petitions, including asylee/refugee
    4    follow-to-join petitions, not more than
    5    10 business days from receipt.          Yes.    Right.
    6    It's the 10 business day requirement that I
    7    discussed prior, previously.
    8          Q.       And these timeliness
    9    requirements are currently in effect?
   10          A.       Yes.    I mean, I didn't look at
   11    every single bullet, but you referred me to
   12    the first bullet.       But yes, the timeliness
   13    requirement is still in effect for the
   14    contractor as relates to IV processing --
   15    pre-processing.
   16          Q.       A few times during this
   17    deposition, you mentioned that the
   18    contractor exceeding timeliness.
   19          A.       Yes.
   20          Q.       Does that mean the contractor is
   21    taking less time than the 10 business
   22    days --
   23          A.       This many cases --
   24          Q.       -- specified?
   25          A.       Yes.    In many cases, yes, and in


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                                                                 Page 566
    1                            McGeary
    2    this specific case, not the whole time frame
    3    discussed under the Previous Plan clearly or
    4    even the current -- well, the current plan
    5    is the current plan.
    6                   MS. HIROSE:     I'd like to
    7          introduce DEFLD-00003928 and mark this
    8          as Exhibit 37 for the record.
    9                   (Exhibit 37, Attachment H -
   10          Timeliness and Quality Acceptance
   11          Criteria bearing Bates Nos.
   12          DEFLD-00003928-3948, marked for
   13          identification, as of this date.)
   14                   MS. DAVILA:     Hold on, counsel.
   15          We're looking for that one.
   16                   Let the record reflect that the
   17          witness has been handed 3928.
   18          A.       Okay.
   19          Q.       Do you recognize Exhibit 37?
   20          A.       Again, it appears to be related
   21    to the LDRM contract for visa for services.
   22    I am not the contracting officer nor am I
   23    the contracting officer representative.
   24    Therefore, I can't attest to every line, but
   25    I'm familiar with this type of document; yes.


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    1                            McGeary
    2          Q.       Do you see under the timeliness
    3    acceptance criteria there is a paragraph for
    4    SIVs and there is a paragraph for COM?
    5          A.       Yes, I see.
    6          Q.       Is the criteria for SIV
    7    currently in effect?
    8          A.       So I would need to see the date
    9    of this and also determine whether or not
   10    there are subsequent contract modifications,
   11    which there have been, but I can say that
   12    definitely there are timeliness and quality
   13    acceptance criteria that pertain to the
   14    contract including SIV processing.
   15          Q.       Can you say if the criteria
   16    under COM is currently in effect?
   17          A.       Well, again, this -- I am not
   18    aware whether or not there were
   19    subsequent -- there could have been, I don't
   20    have my position here -- subsequent
   21    modifications to the contract or change
   22    orders that were made to the contract so
   23    there could have been subsequent to this
   24    change orders or other modifications to the
   25    contract.     This, for example, refers to


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